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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                                   Chapter 11

PROMISE HEALTHCARE GROUP, LLC, et al.1                                   Case No. 18-12491 (CSS)

                     Debtors.                                            Jointly Administered

                                                                         Re: Docket No. 87


                  THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
                       OBJECTION TO THE DEBTORS’ SALE MOTION

           The Official Committee of Unsecured Creditors (the “Committee”) in the chapter 11

cases of Promise Healthcare Group, LLC (together with its affiliated debtors in possession, the

“Debtors”) objects (the “Objection”) to the Motion of the Debtors for Entry of an Order (I)

Authorizing the Sale of Certain Real Property Free and Clear of All Liens, Claims, Interests, and

Encumbrances, and (II) Authorizing the Debtors to Reject Unexpired Lease of Nonresidential

Real Property [Docket No. 87] (the “Sale Motion”), and respectfully states as follows:2



1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital,
L.L.C. (5340), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of
Shreveport, Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the Villages,
L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068), Promise Healthcare of
California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise
Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc.
(0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc. (2171),
Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of Overland
Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise
Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of Dade, Inc.
(1592), Promise Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise Skilled
Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing Facility of Wichita Falls, Inc. (1791),
Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), St. Alexius Hospital Corporation #1 (2766), St.
Alexius Properties, LLC (4610), Success Healthcare 1, LLC (6535), Success Healthcare 2, LLC (8861), Success
Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise
Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise
Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology Development and Services Company, Inc.
(7766). The mailing address for the Debtors, solely for purposes of notices and communications, is 999 Yamato
Road, 3rd FL, Boca Raton, FL 33431.
2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Sale Motion.


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                                   PRELIMINARY STATEMENT

        1.       Upon its appointment, the Committee advised the Debtors of its many concerns

with the Sale Motion, including the Debtors’ request to conduct a private sale process, rather

than a competitive auction. The Debtors addressed certain of these concerns by agreeing to

provide additional notice to potential bidders regarding the proposed sale and their opportunity to

bid on the Real Property (as defined below).3 As a result of such additional notice and the

Committee’s request for an open sale process, the Committee has been advised that at least one

other party has expressed an interest in acquiring the Real Property and an auction may be

conducted. The Committee, however, remains concerned that: (a) the Debtors’ proposed

December 3, 2018 bid deadline may not provide adequate time for all potential bidders to

conduct diligence and formulate a bid (especially given the recent intervention of the

Thanksgiving holiday weekend), and (b) an expedited sale process may be unnecessary, given

that the Real Property is not a “melting ice cube.”4

        2.       The Committee hopes to resolve these and the other remaining concerns on a

consensual basis and will work diligently with the Debtors and National Health Investors, Inc.

(“National Health”) to achieve those goals. In the event a consensual resolution proves

unobtainable, however, the Committee files this Objection because, as detailed below: (a)

numerous grounds exist for the Court to deny the proposed sale and, in its place, provide for a

competitive, value-maximizing auction, and (b) the SPA (as defined below) suffers numerous

defects (e.g., providing improper expense reimbursement and indemnification rights) and should

not be approved as currently proposed.



3
 A copy of the Notice of Opportunity to Buy Real Estate Free and Clear of All Liens, Claims and Encumbrances is
attached hereto as Exhibit A.
4
 The Committee is certainty cognizant of the milestones in the debtor-in-possession financing agreed to by the
Debtors in these cases.

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                                         BACKGROUND

        3.       On November 5, 2018 (the “Petition Date”), the Debtors each filed voluntary

petitions for relief under chapter 11 of the United States Code (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors’ cases

are being jointly administered and no trustee or examiner has been appointed.

        4.       The Committee was appointed on November 14, 2018 [Docket No. 91].

        5.       On November 13, 2018, the Debtors filed the Sale Motion, seeking authorization

to consummate the transaction embodied in that certain Purchase and Sale Agreement (the

“PSA”) between Debtor Quantum Properties, L.P. (the “Seller”) and National Health. The PSA

and Sale Motion contemplate the private sale of that certain facility known as Crestwood - San

Diego, located at 550 University Avenue, San Diego, California 92105, and all easements and

rights appurtenant thereto (collectively, the “Real Property”) to National Health, free and clear of

all liens, claims, interests, and encumbrances.

        6.       Although the Debtors’ prepetition marketing efforts yielded multiple additional

bids and a new bidder recently expressed an interest in acquiring the Real Property, the Debtors

seek approval of a private sale to National Health (and to forego an auction) because they believe

that National Health’s bid is “the only bid for the Real Property that could close within the time

allotted under the milestones set forth in the [Interim DIP Order].” See Sale Motion, pp. 2-3.

                                           OBJECTION

I.      The Proposed Private Sale Should Be Rejected in Favor of an Open, Competitive
        Auction Process.

        7.       Although section 363 of the Bankruptcy Code does not specify a standard for

authorization of a debtor’s use, sale, or lease of property, bankruptcy courts authorize sales of

debtor’s assets only if the sale is based upon the sound business judgment of the debtor. See,

e.g., Meyers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996); Dai-Ichi Kangyo Bank

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Ltd. v. Montgomery Ward Holding Corp. (In re Montgomery Ward Holding Corp.), 242 B.R.

147, 153 (D. Del. 1999); In re Del. & Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991).

        8.       When determining whether a proposed sale satisfies this standard, courts typically

consider: (i) whether a sound business justification exists for the sale; (ii) whether interested

parties received adequate and reasonable notice of the sale; (iii) whether the sale produces a fair

and reasonable price for the property; and (iv) whether the parties acted in good faith. See Del.

& Hudson Ry., 124 B.R. at 176; In re Phx. Steel Corp., 82 B.R. 334, 335-36 (Bankr. D. Del.

1987); In re United Healthcare Sys., Inc., No. 97-01159, 1997 WL 176574, at *4 n.2 (D.N.J.

March 26, 1997). Importantly, the “sound business judgment” standard does not permit a court

to simply “rubberstamp” a debtor’s proposal. See, e.g., Key3Media Grp. v. Pulver.com (In re

Key3Media Grp.), 336 B.R. 87, 93 (Bankr. D. Del. 2005). Rather, a debtor must always act in a

manner that maximizes the value of its estate for all interested parties. In re Reliant Energy

Channelview LP, 594 F.3d 200, 210 (3d Cir. 2010).

        9.       Here, the Debtors cannot satisfy the standards for approval of the proposed sale to

National Health, as such sale is not supported by a sound business judgment, is not reasonably

calculated to maximize the value of the Debtors’ estates, and only inures to the benefit of

National Health, the DIP lenders (who seek to liquidate their collateral) and City National Bank

of Florida (together with the DIP lenders, the “Debtors’ Lenders”), who holds a first-priority

deed of trust against the Real Property.

        10.      The Debtors’ sole justification for foregoing a competitive auction is a bald

assertion that no other potential bidder “could close within the time allotted under the milestones

set forth in the [Interim DIP Order].” Sale Motion, p. 3. However, the Debtors’ desire to

appease their lenders cannot, as a matter of law, justify the sale under the business judgment

standard. See, e.g., In re Encore Healthcare Assocs., 312 B.R. 52, 55 (Bankr. E.D. Pa. 2004)


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(requiring “some business justification, other than appeasement of major creditors” for the

terms of an asset sale) (emphasis added) (citing Comm. of Equity Sec. Holders v. Lionel Corp.

(In re The Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983) (creditor appeasement “is

insufficient as a matter of fact because it is not a sound business reason and insufficient as a

matter of law because it ignores the equity interests required to be weighed and considered under

Chapter 11”)); see also In re Mid-State Raceway, Inc., 323 B.R. 40, 59 (Bankr. N.D.N.Y. 2005)

(courts refuse “to allow terms in financing arrangements that convert the bankruptcy process

from one designed to benefit all creditors to one designed for the unwarranted benefit of the

postpetition lender.”) (citation omitted); In re Pinnacle Brands, 259 B.R. 46, 53-54 (Bankr. D.

Del. 2001) (“A debtor’s fiduciary duty is to maximize the value of the estate for distribution to

creditors, not to minimize the exposure of an individual creditor”).

         11.      Rather than a closed sale process that benefits only National Health and the

Debtors’ Lenders, this Court should approve an open and competitive sale process to maximize

value for all creditors.5 See Simantob v. Claims Prosecutor, LLC (In re Lahijani), 325 B.R. 282,

288-89 (B.A.P. 9th Cir. 2005) (“The court’s obligation in § 363(b) sales is to assure that optimal

value is realized by the estate under the circumstances . . . The price achieved by an auction is

ordinarily assumed to approximate market value when there is competition by an appropriate

number of bidders. When competition is constrained, however, the price is less likely to be

reliable and should be examined more carefully”); In re Harwald, 497 F.2d 433, 444 (7th Cir.

1974) (“sale by public auction, where all interested parties can be brought together for open,

competitive bidding, will result in the highest prices which could be obtained on behalf of the

creditors for the bankrupt’s property.”) (citation omitted).


5
 The PSA expressly allows the Seller to “seek approval of a public sale/auction . . . [i]n the event that the
Bankruptcy Court does not approve a private sale . . .” See PSA §6(j).


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        II.      Specific Provisions of the SPA Are Inappropriate.

        12.      The Court should not approve the Sale Motion based on the currently proposed

SPA. As discussed below, the SPA suffers numerous defects, including providing National

Health: (i) reimbursement for up to $350,000 of its costs and expenses, (ii) broad indemnification

rights that extend to conduct beyond the Seller’s control.

        13.      More specifically, among the numerous problems with the proposed SPA are the

following, certain of these are the subject current discussions between and among the Debtors,

the Committee and National Health:6

                            Section 6(i) (Expense Reimbursement). Under Section 6(i) of the SPA,
                             upon the closing of the proposed sale to National Health or the termination
                             of the SPA for various reasons, National Health is entitled to
                             reimbursement of up to $350,000 of its costs and expenses. This provision
                             is objectionable because, under the circumstances, no bid protections are
                             warranted. National Health’s bid is not a traditional “stalking horse bid”
                             that sets a “bidding floor” for the Debtors’ assets and promotes a robust
                             auction. Here, there is no proposed auction. Moreover, what bidding
                             floor does National Health possibly set if it can “walk away” from the
                             proposed sale simply by stating that it was unable to reach an agreement
                             regarding the lease with its tenant (which is discussed in greater detail
                             below)? National Health should not receive the benefits of serving as a
                             stalking horse bidder when its bid does not entail the “bid-promoting”
                             benefits stalking horse bids are designed to produce. And, just as
                             importantly, what necessity can there be to provide such a bid protection
                             to National Health when it has already conducted more due diligence than
                             any other party?

                            Section 20(a) (Indemnity). Section 20(a) provides, in pertinent part, that
                             “Seller shall indemnify, defend, reimburse and hold harmless [National
                             Health] from and against any claims, causes of action, judgments, losses,
                             liabilities, penalties, damages, costs and expenses, including reasonable
                             attorneys’ fees and other costs of defense . . . suffered or incurred by
                             [National Health] and caused by, resulting from or arising by reason of (i)
                             any breach of any representation of warranty by Seller, (ii) any breach of
                             any covenant by Seller, (iii) Seller’s Default hereunder, (iv) the use or
                             ownership of the Facility prior to the Closing Date, (v) any Excluded
                             Asset or Excluded Liability, and (vi) any failure of the Project to comply
                             with any statute, law, ordinance or regulation relating to zoning or

6
  Additional comments to the proposed SPA have been included in the Committee’s mark-up of the proposed SPA
(the “Committee Mark-up”), attached hereto as Exhibit B.

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                             conditional use permitting for the permitted use of a 125-bed mental
                             health rehabilitation center, including but not limited to any costs and
                             expenses incurred by [National Health] or Crestwood to obtain proper
                             zoning or a current zoning letter for the Project after the Closing in form
                             and substance satisfactory to [National Health].” This provision is
                             objectionable because: (a) romanettes (i) and (ii) should be limited to
                             “material” breaches by the Seller, and (b) romanettes (iv)-(vi) should be
                             deleted in their entirety because the Seller should not be obligated to
                             indemnify National Health for actions that are not within its control.

                            Section 5 (Third-Party Reports). Under the SPA, National Health is
                             entitled to order and obtain, and the Seller is obligated to pay for, a
                             multitude of “Third-Party Reports” (including a “Property Inspection,” an
                             “Environmental Report,” a “Purchase Price Allocation Study,” an
                             “Erosion Report,” a “Title Commitment,” a “Survey,” a “Zoning Report”
                             and “Lien Searches” (as each of these items is defined in the SPA)). This
                             is objectionable because National Health should be responsible for the
                             costs of its own due diligence.

                            Section 10 (Seller’s Representations and Warranties). The SPA, as
                             currently drafted, is objectionable because the Seller should only be
                             required to make representations and warranties as to facts within its
                             knowledge and control.

                            Section 17(xi) (Conditions Precedent). Section 17(xi) of the SPA provides
                             that “[t]he obligation of [National Health] to close the transaction
                             contemplated hereby shall be subject to the satisfaction of the following
                             conditions prior to, or concurrently with, the Closing: . . . (xi) Purchaser
                             shall have entered into the new Lease, and all related transaction
                             documents for the Project with Crestwood and/or Tenant on terms
                             acceptable to Purchaser within thirty (30) days of the date of this
                             Agreement.” This is objectionable because National Health and the new
                             tenant should agree on a new lease prior to National Health signing the
                             SPA. The new lease could be contingent upon National Health closing
                             title on the Real Property.

        14.      Only if all of the above problems with the SPA and the other issues identified in

the Committee Mark-up are addressed can the sale process be allowed to proceed.

                                       RESERVATION OF RIGHTS

        15.      The Committee reserves its right to amend or supplement this Objection or join

any objection to the Sale Motion and to seek discovery and/or present evidence at any hearing in

connection therewith.


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        WHEREFORE, the Committee respectfully requests that the Court deny or modiy the

Sale Motion consistent with the foregoing and grant the Committee such other and further relief

as is just and proper.


Dated: November 29, 2018                    PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Bradford J. Sandler
                                            Jeffrey N. Pomerantz, Esq.
                                            Bradford J. Sandler, Esq.
                                            Colin R. Robinson, Esq.
                                            919 N. Market Street, 17th Floor
                                            Wilmington, DE 19801
                                            Telephone: (302) 652-4100
                                            Facsimile: (302) 652-4400
                                            E-mail: jpomerantz@pszjlaw.com
                                                     bsandler@pszjlaw.com
                                                     crobinson@pszjlaw.com

                                            - and -

                                            Andrew H. Sherman
                                            Boris I. Mankovetskiy
                                            SILLS CUMMIS & GROSS P.C.
                                            One Riverfront Plaza
                                            Newark, NJ 07102
                                            Telephone: 973-643-7000
                                            Facsimile: 973-643-6500
                                            Email: asherman@sillscummis.com
                                                    bmankovetskiy@sillscummis.com

                                            Proposed Counsel to the Official Committee of
                                            Unsecured Creditors




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                                            EXHIBIT A

                               (Notice of Opportunity to Buy Real Estate
                        Free and Clear of All Liens, Claims and Encumbrances)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
PROMISE HEALTHCARE GROUP, LLC, et al.,1 : Case No. 18-12491 (CSS)
                                                               :
                  Debtors.                                     : (Jointly Administered)
---------------------------------------------------------------x

                  NOTICE OF OPPORTUNITY TO BUY REAL ESTATE
            FREE AND CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES

     Opportunity to Purchase Crestwood – San Diego Rehabilitation Center:
    Located at 5550 University Avenue, San Diego, CA 92105 (the “Property”)

        This is to notify you that the Property will be available for purchase no later than
December 4, 2018. The seller of the Property, Quantum Properties, L.P. (“Quantum”), is a debtor
in a bankruptcy case filed in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), Case No. 18-12497. The Bankruptcy Court will hold a hearing on
December 4, 2018 at 11:00 a.m. (Eastern Time) to select a winning bidder for the Property.




1
         The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax
         identification number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional
         Rehabilitation Hospital, L.L.C. (5340), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group,
         LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of
         Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages Holdings, LLC
         (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP
         Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953),
         Promise Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise
         Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los
         Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of
         Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of Overland Park, Inc.
         (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659), Promise
         Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of
         Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057),
         Promise Skilled Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing Facility of
         Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), St. Alexius
         Hospital Corporation #1 (2766), St. Alexius Properties, LLC (4610), Success Healthcare 1, LLC (6535),
         Success Healthcare 2, LLC (8861), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC
         (4947), LH Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823),
         Promise Rejuvenation Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and
         PHG Technology Development and Services Company, Inc. (7766). The mailing address for the Debtors,
         solely for purposes of notices and communications, is 999 Yamato Road, 3rd FL, Boca Raton, FL 33431.


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        There is an opportunity for you to participate in an auction for the Property, if you
choose. Attached is final version of the Purchase and Sale Agreement between Quantum and a
current bidder (the “PSA”). Any bid for the Property must exceed $________.

        Parties interested in participating in an auction for the Property will need to submit a
binding version of a revised PSA (showing marked changes), along with a cash deposit of
$450,000 (the “Deposit”) by 1:00 p.m. (Eastern Time) Monday, December 3, 2018 to this
office and auction will be conducted _______________.

       Wire transfer and cashier’s checks made payable to Healthcare Finance Partners
Corporation will be the only form of currency accepted for the Deposit. To the extent changes
are made to the PSA, only changes that improve the financial terms of the PSA will be accepted.

         Please contact Kevin Roy at NFP at ________________________ if you have questions.



                                              Kevin Roy




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                                     EXHIBIT B

                                    (SPA Mark-up)




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                                  Purchase and Sale Agreement




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                                 5896419 v1 v2 Purschase and Sale Agreement
                                 between Quantum Properties and National
                                 Health Investors
                 Case
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                                                                       88
                                                                                                  EXECUTION VERSION

                                     PURCHASE AND SALE AGREEMENT

        THIS PURCHASE AND SALE AGREEMENT (this “Agreement”), dated as of
November 12______________, 2018, is by and between Quantum Properties, L.P., a California
limited partnership (“Seller”), and National Health Investors, Inc., a Maryland corporation, or its
assignee, nominee or designee on the terms as permitted herein (“Purchaser”).

                                                           RECITALS

A.     Seller is the owner of record of the real property and all improvements used in connection
with the mental health rehabilitation center known as Crestwood - San Diego located at 5550
University Avenue, San Diego, California 92105 (the “Facility”) and all easements and rights
appurtenant thereto (collectively, the “Real Property”), which Real Property is legally described
on Exhibit A attached hereto. The Facility, the Real Property, and the Purchased Assets (as
defined below) are referred to herein collectively as the “Project”.

B.     Seller filed a voluntary Chapter 11 petition on November 4, 2018 (the “Petition Date”),
Case No. 18-12497 (the “Bankruptcy Case”), under chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”). Seller intends to continue to operate as a debtor-in-
possession under the Bankruptcy Code.

C.      Subject to Bankruptcy Court approval and approval of the Final Private Sale Order (as
hereinafter defined), Purchaser desires to purchase from Seller and Seller desires to sell to
Purchaser all of Seller’s right, title and interest in and to the Project and other Purchased Assets
(as defined below) on the terms and conditions set forth herein free and clear of any charge,
claim, community or other marital property interest, condition, equitable interest, lien,
encumbrance, option, pledge, security interest, mortgage, right of way, easement, encroachment,
servitude, right of first option, right of first refusal or similar restriction, including any restriction
on use, voting (in the case of any security or equity interest), transfer, receipt of income or
exercise of any other attribute of ownership (individually an “Encumbrance” and collectively,
the “Encumbrances”), and interests (except for Permitted Exceptions) in accordance with the
Final Private Sale Order and sections 105, 363, and 365 and other applicable provisions of the
Bankruptcy Code and the Federal Rules of Bankruptcy Procedure. This Agreement contemplates
a private bankruptcy sale and not a public auction.

D.      Crestwood Behavioral Health, Inc., a Delaware corporation (“Crestwood”), is currently
leasing the Facility from Seller (the “Existing Lease”) and upon consummation of this
transaction, University Partners, LLC, a California limited liability company (“Tenant”), will
lease the Facility and Real Property from Purchaser in accordance with the terms and provisions
of that certain lease to be entered into on or prior to the Closing Date (as hereinafter defined) by
and between Purchaser and Tenant, and then Tenant will sublease the Facility and Real Property
to Crestwood in accordance with the terms and provisions of that certain sublease to be entered
into on or prior to the Closing Date (as hereinafter defined) (the to be executed lease and sublease
shall be collectively referred to herein as the “Lease”).




5896419 v1 v2 Purschase and Sale Agreement between Quantum Properties and National Health Investors
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4829-3214-7309.25




5896419 v1 v2 Purschase and Sale Agreement between Quantum Properties and National Health Investors
                 Case
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       E.     Following Bankruptcy Court approval of this Agreement and entry of the Final
Private Sale Order, the parties intend to consummate the transactions contemplated by this
Agreement as further described herein.

       NOW, THEREFORE, for and in consideration of the mutual promises, covenants and
conditions herein contained, the receipt, sufficiency and adequacy of which are hereby mutually
acknowledged, and other good and valuable consideration, the parties hereto agree as follows:

          1.        Purchase and Sale Agreement.

                 (a)    Purchased Assets. On the terms and conditions set forth herein, on the
          Closing Date, Seller shall sell, or cause to sell, to Purchaser, and Purchaser shall purchase
          from Seller, the following assets, properties and rights, all free and clear of all
          Encumbrances and interests (to the full extent permitted by the Bankruptcy Code, as
          determined by Bankruptcy Court in the Final Private Sale Order) except for Permitted
          Exceptions:

(i)       fee simple title to the Project;

(ii)    all of the right, title and interest accruing to the owner of any portion of the Project in, to
and under: all guaranties, warranties and agreements from contractors, subcontractors, vendors
and suppliers regarding their performance, quality of workmanship and quality of materials
supplied in connection with the construction, manufacture, development, installation and
operation of any and all of the Project (collectively the “Warranties”); and any certificates of
occupancy, certificates of need, if any, licenses, permits, government authorizations,
accreditations, authorizations, certifications, consents and approvals (collectively, including any
pending applications or renewals thereof, the “Permits”) related to the ownership (as compared
to the operation) of any portion of the Project and only to the extent the same are assignable to
the Purchaser; and

(iii)     all manuals and other records attributable to the Project.

The assets described above in this Section 1(a) shall hereinafter be collectively referred to as the
“Purchased Assets.”

                  (b)     Excluded Assets. Notwithstanding any other provision of this Agreement
          to the contrary, Seller and Purchaser acknowledge and agree that the Purchased Assets
          shall not include any of Seller’s, or any of its Affiliates’, cash, cash equivalents, accounts
          receivable, bank accounts, financial books and records, proprietary computer software,
          minute books, or proprietary materials (collectively, the “Excluded Assets”).

                 (c)     Excluded Liabilities. Purchaser shall not assume or otherwise be
          responsible for any liabilities or obligations of Seller of any kind, whether known or
          unknown, contingent, matured or otherwise, whether currently existing or hereinafter
          created, including but not limited to (i) any personal property tax liability or related
          personal property account with San Diego County and (ii) any and all applicable



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          brokerage fees arising under this transaction, including but not limited to, fees arising
          under that certain agreement between Seller and Healthcare Finance Partners, Corp.
          dated January 19, 2018 (collectively, the “Excluded Liabilities”). All liabilities and
          obligations of Seller, including the Excluded Liabilities, shall be retained by and remain
          obligations of Seller after the Closing subject to and in accordance with applicable law,
          including, without limitation, applicable bankruptcy law. For the avoidance of doubt,
          Purchaser shall be responsible only for liabilities and obligations incident to ownership
          of the Project to the extent arising after the Closing. The provisions of this Section 1(c)
          shall survive the Closing indefinitely.

As used herein, “Affiliate” shall mean any Person that directly, or indirectly through one or more
intermediaries, controls, is controlled by, or is under common control, as the case may be. For the
purposes of this definition, “control” means the possession, direct or indirect, of the power to
direct or cause the direction of the management and policies of a Person, whether through the
ownership of voting securities, by contract or otherwise. As used herein, “Person” shall mean
any individual, partnership, joint venture, firm, corporation, limited liability company,
association, trust or other enterprise.

          2.        Purchase Price; Closing Consideration; Seller Escrow.

(a)    Closing Consideration. The purchase price payable by Purchaser to Seller for the
Purchased Assets shall be Fifteen Million and No/100 Dollars ($15,000,000.00) (the “Purchase
Price”). The Purchase Price shall be paid in cash or other immediately available funds, plus or
minus prorations, credits and adjustments as provided in this Agreement.

(b)     Purchase Price Allocation. The Purchase Price and all other amounts constituting
consideration, within the meaning of, and for purposes of, Section 1060 of the Internal Revenue
Code, for the Purchased Assets shall be allocated as set forth in Exhibit B attached hereto, which
exhibit shall be reasonably determined in good faith by an independent third party engaged by
Purchaser.

(c)       Intentionally Deleted.

(d)     Holdback Deposit. Purchaser shall deposit into an escrow account established with the
Title Company a holdback deposit amount of Three Hundred Fifty Thousand and No/100 Dollars
($350,000.00) (the “Holdback Deposit”) in cash for a period of six (6) months after the Closing.
The Holdback Deposit shall be credited toward the Purchase Price and shall be subject to and
governed by that certain Escrow Agreement attached hereto as Exhibit C which shall, among
other things, grant a security interest to Purchaser in the Holdback Deposit and provide for the
satisfaction of any and all indemnification claims of the Purchaser pursuant to Section 20.

         3.     Closing. The closing of the purchase and sale of the Purchased Assets pursuant to
this Agreement (the “Closing”) shall take place on a date mutually acceptable to Seller and
Purchaser, which shall in any event occur within five (5) business days from entry of a Final
Private Sale Order, provided all of the deliveries in Section 16 and the conditions precedent set
forth in Section 17 have either been satisfied or waived by the applicable party (the “Closing




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Date”), and further provided that the Closing Date may be changed upon the written mutual
agreement of Seller and Purchaser. The Closing shall take place at or through the offices of the
First American Title Insurance Company (the “Title Company”) in Nashville, Tennessee or at
such other place as Seller and Purchaser shall mutually agree in writing. The Closing shall be
consummated through an escrow in accordance with the general provisions of the customary form
of deed and money escrow instructions then in use by the Title Company for the closing of
commercial real estate transactions and with such other provisions as are necessary to effectuate
this Agreement (the “Closing Escrow”). Seller shall deliver possession of the Purchased Assets
to Purchaser at the Closing free and clear of any and all Encumbrances and interests, subject only
to the Permitted Exceptions (as defined below).

As used herein “Final Private Sale Order” shall mean an order or judgment, the operation or
effect of which is not stayed, and as to which order or judgment (or any revision, modification or
amendment thereof), the time to appeal or seek review or rehearing has expired, and as to which
no appeal or petition for review or motion for re-argument has been taken or been made and is
pending for argument.

4.     Environmental Report; Property Inspection; Appraisal and Erosion Report.
Purchaser shall, in its discretion, order and obtain: (a) a written structural and physical condition
report of the Project, including all improvements thereof (the “Property Inspection”), (b) a
Phase I environmental report for the Project, and Phase II if so recommended by the Phase 1,
(the “Environmental Report”), (c) a purchase price allocation study of the Project (the
“Purchase Price Allocation Study”), and (d) an analysis and recommendation regarding
erosion remediation for the Project (the “Erosion Report”). The Property Inspection, the
Environmental Report, the Purchase Price Allocation Study, and the Erosion Report shall be
prepared by third-party providers, and shall be in form, content and substance, satisfactory to
Purchaser, in its sole and absolute discretion.

5.      Third-Party Reports. It is understood and acknowledged between the parties that both
parties may rely upon the Property Inspection, the Environmental Report, the Purchase Price
Allocation Study, the Erosion Report, the Title Commitment (as defined below), the Survey (as
defined below), the Zoning Report (as defined below), and the Lien Searches (as defined below),
(all collectively the “Third-Party Reports”). Purchaser and its agents and representatives shall
be entitled during normal business hours to enter upon the Project accompanied by a
representative of Seller for purposes of inspecting the Project, including, without limitation,
patient/resident areas and all structural, mechanical and other systems within the Facility,
provided that such inspections shall not cause damage to the Facility or unduly disturb the
occupants thereof. Purchaser agrees to provide Seller copies of the Third-Party Reports upon
obtaining copies of the reports in form, content, and substance satisfactory to Purchaser in its
sole discretion. Notwithstanding the foregoing and anything to the contrary contained herein, the
Third Party Reports will not be released or otherwise provided to Seller unless and until all costs
associated therewith are paid by or on behalf of Seller to Purchaser or the relevant third
partyPurchaser shall be responsible to pay the cost of all Third Party Reports.

6.        Bankruptcy Matters.

                    (a)        Intentionally Deleted.


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(b)     Delivery of Documents. Prior to filing, the Seller shall deliver or cause to be delivered to
Purchaser for review and comment all documents to be filed by the Seller with the Bankruptcy
Court that relate to the transactions contemplated by this Agreement, as soon as commercially
reasonable and in any event not less than (1) business day prior to filing, including all motions,
proposed orders, applications, supporting papers, and any and all amendments related thereto,
prepared by the Seller. All motions, proposed orders, applications, supporting papers, and any and
all amendments related thereto, prepared by the Seller and relating to the transactions
contemplated by this Agreement to be filed by the Seller must be in form and substance acceptable
to both the Purchaser and the Seller.

(c)       Intentionally Deleted.

(d)     363 Sale Motion. Promptly upon all parties executing this Agreement, but in no event
later than five (5) business days thereafter, the Seller shall file a motion with the Bankruptcy
Court (“Private Sale Motion”) requesting entry of an order of the Bankruptcy Court that will,
among other things, approve the private sale of the Purchased Assets pursuant to this Agreement
(“Private Sale Order”). The Private Sale Order shall be substantially in the form of Exhibit D
(with such changes to such form as the Seller and the Purchaser shall mutually approve). The
Seller shall use reasonable best efforts to seek Bankruptcy Court approval of the Private Sale
Motion notwithstanding any objections thereto.

(e)     Notice. The Seller and the Purchaser shall give prompt notice to each other of (i) any
written notice or other written communication from any Person alleging that the consent of such
Person which is or may be required in connection with the transactions contemplated hereby is
not likely to be obtained prior to Closing, and (ii) any written objection or proceeding that
challenges such transactions or the entry of the Private Sale Order.

(f)       Intentionally Deleted.

(g)     Private Sale Order. The Private Sale Order approving this Agreement and authorizing and
approving the transactions contemplated hereby, shall be consistent with the intentions of the
parties stated in this Agreement, and provide for, among other things, in terms reasonably
acceptable to the parties: (A) that the Seller shall sell, transfer, and assign the Purchased Assets to
the Purchaser pursuant to this Agreement and Bankruptcy Code sections 105 and 363, and that
the Purchased Assets are free and clear of any and all Encumbrances and interests except for
Permitted Exceptions; (B) that the Purchaser shall not assume any of the Seller’s liabilities,
including, without limitation, the Excluded Liabilities; (C) that the Existing Lease to Crestwood
is rejected; and (D) the Purchaser is a good-faith purchaser and is thereby entitled to the
protections of section 363(m) of the Bankruptcy Code. For the avoidance of doubt, the rejection
of the Existing Lease to Crestwood may be effectuated by a separate order of the Bankruptcy
Court. The parties shall act in cooperation to adduce adequate evidence to support a good faith
finding pursuant to section 363(m) of the Bankruptcy Code.




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(h)      Appeal. In the event the entry of the Private Sale Order shall be appealed, the Seller shall
use its reasonable best efforts to defend such appeal. Notwithstanding anything to the contrary set
forth herein, nothing herein shall negate or limit the requirement of a finding that the Purchaser is
entitled to the protections afforded to good faith purchasers under Section 363(m) of the
Bankruptcy Code.

(i)     Expense Reimbursement. Upon the occurrence of the earlier of the Closing or a
Compensable Termination Event (as defined herein), the Purchaser shall be entitled, in
consideration of its rights under this Agreement, to reimbursement by the Seller (in cash or other
immediately available funds) for all reasonable out-of-pocket costs and expenses, including but
not limited to, Third-Party Reports, extended coverage title policy, transfer taxes and recording
of the deed and Purchaser’s legal fees and expenses and other professional fees and expenses,
incurred by the Purchaser in connection with the Bankruptcy Case, the acquisition (or attempted
acquisition) of the Purchased Assets, and the negotiation, execution, and delivery of this
Agreement in an aggregate amount not to exceed Three Hundred Fifty Thousand and No/100
Dollars ($350,000.00) (the “Expense Reimbursement”). The Expense Reimbursement shall be
paid, in immediately available funds, to the Purchaser concurrently with the earlier of the
occurrence of a Compensable Termination Event or the Closing. The Seller agrees that it has or
will obtain an allowed super-priority lien position, subject only to any carve-out for the Debtors’
and any committee’s professionals, in any post-petition financing or cash-collateral agreement
for the Expense Reimbursement and, if applicable, the Break-Up Fee (as defined below) (the
“Purchaser Carve-Out”). The Seller agrees that it will not enter into any post-petition
financing or cash collateral agreement under Sections 363 or 364 of the Bankruptcy Code that
does not preserve the Purchaser Carve-Out. Seller shall pay any and all applicable brokerage
fees arising under this transaction to Healthcare Finance Partners, Corp. in the amount of 2.5%
of the Purchase Price as recited under that certain agreement between Seller and Healthcare
Finance Partners Corp. dated January 19, 2018. The Expense Reimbursement and the brokerage
fees payable to Healthcare Finance Partners Corp. shall be deemed an allowed super-priority
administrative expense claim of the Purchaser under Section 364(c)(1) of the Bankruptcy Code
with priority over any and all administrative expenses of any kind, other than any carve-out for
the Debtors’ and any committee’s professionals, including, without limitation, those specified in
Sections 503(b) and 507(b) of the Bankruptcy Code, and shall be paid upon the earlier of a
Compensable Termination Event or the Closing. If the Closing occurs before the occurrence of a
Compensable Termination Event, the Expense Reimbursement shall be paid from the sale
proceeds prior to the payment of any other amounts.

(i)       Intentionally Deleted.

(j)     Alternative Sale Process. The Seller shall use reasonable best efforts to seek Bankruptcy
Court approval of the Private Sale Motion notwithstanding any objections thereto. In the event that
(i) the Bankruptcy Court does not approve a private sale pursuant to the Private Sale Motion
and/or does not enter the Private Sale Order, or (ii) the Seller determines that it cannot, consistent
with its fiduciary duties, seek Bankruptcy Court approval of the Private Sale Motion over any
objections thereto, then Seller shall, at Purchaser’s written election made within a reasonable time
after any such occurrence (the “Stalking Horse Election”), seek Bankruptcy Court approval of a
public

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          sale/auction and bid procedures requesting approval of (a) this Agreement with Purchaser
          as stalking horse, (b) bid procedures in a form and substance acceptable to both Seller
          and Purchaser (or as ordered by the Bankruptcy Court), (c) the Break-Up Fee (as defined
          below), and (d) the Expense Reimbursement (as defined herein). Upon a Stalking Horse
          Election, Seller and Purchaser shall work diligently and use reasonable best efforts to
          amend this Agreement to contemplate a public sale/auction and to prepare the other
          necessary documents and filings, including without limitation the bid procedures and
          related motions, to consummate the public sale/auction. The amendment to this
          Agreement and any other document or filing related to the public sale/auction shall be in
          form and substance satisfactory to the both Seller and Purchaser. Upon a Stalking Horse
          Election, Purchaser shall be entitled to, and Seller shall seek Bankruptcy Court approval
          of, a break-up fee (not dependent on amounts actually expended or incurred by the
          Purchaser) in cash or other immediately available funds in the amount of Four Hundred
          Fifty Thousand and No/100 Dollars ($450,000.00) (the “Break-Up Fee”), which shall be
          paid, in immediately available funds, to the Purchaser upon the occurrence of a
          Compensable Termination Event, and shall seek approval of the Expense
          Reimbursement, which shall be paid upon the earlier of the Closing or a Compensable
          Termination Event. The Break-Up Fee has been or shall be included in the Purchaser
          Carve-Out. The Break-Up Fee shall be deemed an allowed super-priority administrative
          expense claim of the Purchaser under Section 364(c)(1) of the Bankruptcy Code with
          priority over any and all administrative expenses of any kind, other than any carve-out
          for the Debtors’ and any committee’s professionals, including, without limitation, those
          specified in Sections 503(b) and 507(b) of the Bankruptcy Code. Assuming there is a
          Stalking Horse Election, if a closing or the Closing occurs, the Break-Up Fee and the
          Expense Reimbursement shall be paid at that closing or the Closing from the sale
          proceeds of any sale of any portion of the Purchased Assets prior to the payment of any
          other amounts. The Break-Up Fee will be in addition to, and not in lieu of, the Expense
          Reimbursement.

          As used herein “Compensable Termination Event” shall have occurred if (i) the
          Bankruptcy Court approves a sale of any part of Purchased Assets to any other person or
          entity other than the Purchaser, (ii) the Seller subsequently liquidates or otherwise
          disposes of the Purchased Assets in one or a series of transactions, (iii) a Seller’s Default
          occurs or this Agreement is terminated pursuant to Sections 21(b)(i)-(viii) or 21(c), (iv)
          the Court does not approve this Agreement or the transactions contemplated hereby, (v)
          the Seller withdraws or modifies the Private Sale Motion for any reason, (vi) an operating
          trustee is appointed over the Seller without the Purchaser’s consent, (vii) the Seller
          terminates this Agreement for any reason, or (viii) a timely Closing does not occur for any
          reason whatsoever except in the event of a Purchaser’s Default. Purchaser may use any
          amount of the Break-Up Fee and/or the Expense Reimbursement, in such order and
          manner as Purchaser may deem in its sole discretion, as a credit bid in the event of any
          sale/auction of any part of the Purchased Assets.

          7.        Intentionally Deleted.




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         8.     Seller’s Deliveries. Seller represents, warrants, acknowledges and agrees that it
has provided Purchaser with access to each of the following items relating to the Project
(collectively, the “Seller’s Deliveries”):

(a)     all architectural and engineering plans, drawings and specifications for the Project
(including plans, drawings and specifications for any renovations or additions thereto)
(collectively, the “Plans”) that are in Seller’s possession or control;

(b)    copies of any appraisals, feasibility or engineering studies, reports or surveys, including,
without limitation, environmental reports that are in Seller’s possession or control;

(c)     copies of the most recent ALTA survey and title policy that are in Seller’s possession or
control;

(d)     all books and records maintained by the Seller relating to the Purchased Assets and any
evidence in the Seller’s possession or control that the Project (and the current use thereof)
complies with all applicable zoning laws, ordinances, rules and regulations, and that the Project is
not a legal non-conforming use or structure under such laws, ordinances, rules or regulations;

(e)    a list and summary description of all insurance policies maintained by the Seller and
Crestwood in connection with the ownership, use or operation of the Project, including liability
insurance, fire and extended coverage insurance, boiler insurance and business interruption
insurance (collectively, the “Insurance Policies”); and

(f)     final proposed copies of the following documents that the Seller intends to submit to the
Bankruptcy Court: Private Sale Motion, Private Sale Order, and any and all other documents
related to the sale of the Purchased Assets through the Bankruptcy Case as may reasonably be
requested by Purchaser.

        9.     Seller’s Covenants. During the period between the date of this Agreement and
the Closing, Seller covenants and agrees as follows:

(a)     Seller shall maintain, or shall cause Crestwood to maintain, the Project (i) free from waste
and neglect and in substantially the same or better repair, order and condition, normal wear and
tear excepted, as it is on the date of this Agreement, and (ii) maintain and conduct the Facility’s
operations and business in the usual, regular and ordinary manner on a basis consistent with
current practice and in accordance with the requirements of the Existing Lease and all applicable
laws;

(b)       Seller shall maintain, or shall cause Crestwood to maintain, the Insurance Policies;

(c)    Seller shall not (i) enter into any amendment to the Existing Lease, (ii) cause or permit
any material change in the operation of the businesses conducted at the Facility, (iii) without the
prior written consent of the Purchaser, fail to exercise any




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        rights of renewal with respect to the Existing Lease that by its terms would otherwise
expire, or (iv) enter into any agreements materially affecting the Purchased Assets;

(d)    Seller shall file or cause to be filed all returns, reports and filings of any kind or nature
required to be filed by Seller, and will timely pay all taxes and other obligations which are due
and payable with respect to Purchased Assets;

(e)    Seller shall not take any actions which are inconsistent with its obligations under this
Agreement or which could hinder or delay the consummation of the transactions contemplated by
this Agreement;

(f)    Seller shall perform all of its respective obligations in all material respects under the
Existing Lease or other agreements related to the Project or any part of either thereof;

(g)    at Closing, Seller will not be indebted to any Person for work performed on the Project for
which any Person could claim a lien on any part of the Project;

(h)    at all times prior to Closing, Seller shall and shall cause Crestwood to comply in all
material respects with the terms and conditions of the Existing Lease; and

(i)     from the date of this Agreement until the earlier of the termination of this Agreement or
the Closing, Seller shall immediately provide written notice to the Purchaser upon the occurrence
of any of the following: (i) any change, circumstance, event, fact, or condition that causes or
constitutes a breach of any of the representations or warranties of the Seller set forth in this
Agreement that would reasonably be expected to cause a Material Adverse Effect (hereinafter
defined); and/or (ii) any change, circumstance, event, fact, or condition that prevents or is
reasonably likely to prevent the Seller from complying with any of its obligations hereunder.

As used herein, “Material Adverse Effect” means any event, circumstance, fact, state of facts,
occurrence, development, result, change or effect that individually or in the aggregate is, or
would reasonably be expected to have, a material adverse effect on the business, operations,
results of operations of the business as a whole, condition (financial or otherwise) or of assets of
the Project, taken as a whole, except to the extent such material adverse effect is the result of the
following: (a) changes in economic, social or political conditions or the financing, banking,
currency or capital markets in general; (b) changes in laws or changes in accounting requirements
or principles or interpretations thereof by any governmental authority; (c) changes in economic,
social or political conditions in the market or geographical area in which the Project is situated or
changes in the healthcare industry generally; (d) the negotiation, execution, announcement,
pendency or performance of this Agreement or any communication by Purchaser or any of its
Affiliates of their plans or intentions with respect to the Project; (e) the consummation of the
transaction contemplated herein or any actions by the parties taken pursuant to this Agreement or
in connection with the transaction contemplated herein; (f) actions taken by Seller or its Affiliates
with the written consent of, or at the request of, Purchaser (including those actions required or
permitted by this Agreement); (g) any acts of terrorism, sabotage, military action, armed
hostilities or war (whether or not declared) or any escalation or worsening thereof, whether or




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not occurring or commenced before or after the date of this Agreement or ; (h) natural disasters,
acts of God, force majeure events, epidemics or pandemics; except in the case of (a), (b), (c), (g),
or (h) above where the same has a materially disproportionate effect on Seller as compared to
other Persons; (i) seasonal fluctuations of Seller’s business consistent with prior fiscal years; (j)
any changes in GAAP; (k) requirements, reimbursement rates, policies or procedures of third
party payors or accreditation commissions or organizations that are generally applicable to
hospitals or healthcare facilities; (l) the pendency of the Bankruptcy cases, compliance with the
Bankruptcy Code and the developments and circumstances concerning the financial condition of
Seller for periods leading up to the filing of the Bankruptcy cases; or (m) the ability of Seller to
complete the transactions contemplated by this Agreement or to perform its obligations under this
Agreement or any of the documents contemplated herein.

        10. Seller’s Representations and Warranties. Except as set forth on the disclosure
schedule attached hereto as Exhibit G (“Seller Disclosure Schedule”), Seller represents and
warrants to the best of its knowledge, (which representations and warranties shall survive up to
and including the Closing as provided herein) to Purchaser as of the date hereof and as of the
Closing Date that:

(a)     Real Property. Seller’s fee simple title to the Project will, as of the Closing Date, be free
and clear of any and all Encumbrances and interests except for (i) liens for taxes, assessments and
other governmental charges not yet due and payable, and (ii) those other items identified in the
Title Commitment (as defined below) or the Survey (as defined below) which are otherwise
waived by Purchaser in accordance with this Agreement (collectively, the “Permitted
Exceptions”) or Defects (as defined in Section 15 hereof. Neither Seller nor any Affiliate of
Seller owns any additional real property adjoining any portion of the Project. Except for the
Existing Lease, Seller has not leased or otherwise granted to any Person the right to use or occupy
such Project or any portion thereof. There Except as may be set forth in the Existing Lease, there
are no unrecorded outstanding options, rights of first offer or rights of first refusal to purchase the
Project or any portion thereof or interest therein to which Seller or the members of Seller are a
party. Seller has not received any written notice of (i) violations of building codes and/or zoning
ordinances or other governmental or regulatory laws affecting the Project during the period of
operation under the Existing Lease, (ii) existing, pending or threatened condemnation
proceedings affecting the Project, or (iii) existing, pending or threatened zoning, building code or
other moratorium proceedings, or similar matters which could reasonably be expected to
adversely affect the ability to operate the Project as currently operated. Neither the whole nor any
material portion of any Real Property has been destroyed by fire or other casualty.

(b)    Personal Property. Seller does not own any furniture, fixtures or equipment, personalty or
other personal property at the Project.

(c)    Permitted Exceptions. Other than the Permitted Exceptions and any leases, contracts
and/or agreements which Crestwood holds with third-party vendors, there are no other leases,
contracts or agreements entered into by Seller in effect with respect to the Purchased Assets
which will survive the Closing and be binding upon Purchaser or the Purchased Assets.

(d)     Claims or Litigation. Other than the Bankruptcy Case, Seller has no Knowledge of any
pending or proposed litigation or proceedings, against the whole or any part of the Purchased
Assets.

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(e)     Options  or Subleases.
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                                                     or agreements
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                                                                       purchase,  lease
                                                                              32 of 74 (except as it
relates to the Existing Lease), sublease or manage all or any portion of the Purchased Assets.

(f)       Intentionally Deleted.




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(g)       Intentionally Deleted.

(h)       Intentionally Deleted.

(i)     Compliance with Laws. Seller has not received written notice of any violation of any
statute, law, ordinance or regulation of any governmental authority that would require remedial
action by Seller or would require repairs or alterations to the Project or any portion of the
Purchased Assets. To Seller’s Knowledge, the Project is not in violation of any statute, law,
ordinance or regulation of any governmental authority.

(j)     Taxes. All To Seller’s Knowledge, all returns, reports and filings of any kind or nature,
required to be filed with respect to Purchased Assets have been completed and filed in
compliance with all applicable requirements, and all taxes or other obligations which are shown
as due and payable thereon have been paid. Seller will pay or cause to be paid promptly when due
all sewer and water charges and all other governmental charges levied or imposed upon or
assessed against any portion of the Project which are due and payable as of the Closing Date and
will pay or cause to be paid all expenses incurred in the use, occupancy and operation of the
Project which are Seller’s obligation to pay or cause to be paid, and which are due and payable as
of the Closing Date.

(k)    Persons in Possession. As of the date of this Agreement, Crestwood is in possession of
the Facility pursuant to the Existing Lease. Except for the residents of the Facility with valid
contracts or any other Persons granted access by Crestwood, to Seller’s Knowledge, there are no
Persons in possession or occupancy of the Project or any part thereof, nor are there any other
Persons who have possessory rights with respect to the Project or any part thereof.

(l)       Intentionally Deleted.

(m)     Condemnation. To Seller’s Knowledge, there are no pending or threatened condemnation
or eminent domain proceedings, zoning enforcement actions (including building or other local
enforcement actions), proposed zoning changes, special assessments, or proposed changes in
assessed value relating to or affecting the Project. Seller has not received any notice that any state
or municipal authority has performed or will perform any work which would form the basis for a
special assessment on the Project. To Seller’s Knowledge, the Project is not subject to or
threatened with any hold on admissions or other sanction and there are no outstanding or
threatened notices of material deficiencies resulting from any survey of the Project.




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       (n) CaseEnvironmental   Matters.Doc
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                                                           11/29/18       environment
                                                                               33 of 74or discharged,
 placed or disposed of any Hazardous Substances or caused the same to be so released into the
 environment or discharged, placed or disposed of in, at, on or under the Project, except (a) to the
 extent the same will not have a material and adverse effect on the condition, financial or
 otherwise, of Seller or Project and (b) to Seller’s Knowledge, in accordance, and in compliance,
 with any and all applicable Environmental Laws.

No Hazardous Substances are located on or at the Project or have been released into the
environment or discharged, placed or disposed of in, at, on or under the Project, except to the
extent permitted by applicable Environmental Laws. To Seller’s Knowledge, the Project complies
with, and at all times during the period of its operation by Seller, has4829-3214-7309.25
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        complied with, all Environmental Laws in all material respects. Seller has not received
 from any Governmental Authority or third party written notice or a written complaint alleging
 the failure of the Project to comply with, or the potential liability of Seller as a result of the
 noncompliance of the Project with, any Environmental Laws. Seller has made available to
 Purchaser all written assessments that have been prepared by or on behalf of Seller and that are
 in Seller’s possession or under Seller’s reasonable control with respect to the environmental
 conditions at the Project.

(o)     Insurance. Seller has maintained, or has caused Crestwood to maintain, insurance policies
that insure the Facility and the other Purchased Assets continuously since the date Seller or any of
its Affiliates first owned or operated the Project as required by the holder(s) of all mortgage
loan(s) encumbering the Project, if any, or as would otherwise be customarily carried by prudent
owners or operators of properties similar to the Project in markets in which the Project is located
and each of such insurance policies is in full force and effect and all premiums due and payable
thereunder have been paid. Seller has received no written notice of any casualty or liability claim
involving any portion of the Real Property.

(p)       Intentionally Deleted.

(q)    No Material Adverse Effect. Other than the future commencement of the Bankruptcy Case
and changes, facts, circumstances, occurrences, events, effects or conditions related to the
Bankruptcy Case, there has not been any Material Adverse Effect on the business, assets,
condition (financial or otherwise) of the Purchased Assets, and Seller has caused the Project to be
operated by Crestwood in the ordinary course and in substantially the same manner as previously
operated in accordance with the Existing Lease.

(r)     Seller’s Deliveries. The Seller’s Deliveries provided, or otherwise made available, to
Purchaser are accurate in all material respects and do not omit any information which would
cause any of Seller’s Deliveries to be materially misleading. No representation or warranty by or
on behalf of Seller contained in this Agreement contains or will contain any untrue statement of a
material fact, or omits or will omit to state any material facts that are necessary in order to make
the statements contained herein or therein, in light of the circumstances under which they were
made, not misleading.

(s)     Status of Seller. Seller is a limited partnership duly organized, validly existing and in
good standing under the laws of the State of California and is duly qualified to consummate the
transactions contemplated by this Agreement.
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                                                  the Private  Sale Order,
                                                        11/29/18     Pagethis Agreement
                                                                           34 of 74       and all
documents and agreements executed and delivered in accordance herewith by Seller, are valid
and binding obligations of Seller, enforceable against Seller in accordance with their respective
terms, except as the enforceability thereof may be limited by bankruptcy, insolvency,
reorganization, moratorium or other similar laws relating to the enforcement of creditors’ rights
generally and by general principles of equity. The execution of this Agreement and the
consummation of the transactions




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          contemplated in this Agreement in accordance with their terms have been approved by
          all necessary action of Seller under its organizational documents and does not and will
          not result in a breach of the terms and conditions of, nor constitute a default under or
          violation of, Seller’s organizational documents or any law, regulation, court order,
          mortgage, note, bond, indenture, agreement, license or other instrument or obligation to
          which Seller is now a party or by which any of Purchased Assets may be bound or
          affected.

(u)     Authority. Seller has full power and authority to execute and to deliver this Agreement
and all other documents contemplated herein and to carry out the transactions contemplated
herein and therein. Seller has duly and properly taken or obtained or caused to be taken or
obtained all action necessary for it (i) to enter into and to deliver this Agreement and any and all
documents and agreements executed by Seller in connection herewith, and (ii) to carry out the
terms of this Agreement and the transaction contemplated by it. Except as otherwise provided for
herein, no other action by or on behalf of Seller is or will be necessary to authorize the execution,
delivery and performance of this Agreement and any documents and agreements executed or to
be executed by Seller in connection herewith or to authorize the transactions contemplated by this
Agreement. Except for entry of the Private Sale Order, no consent of any third party is or will be
necessary in connection with the execution, delivery and performance of this Agreement and any
documents and agreements executed or to be executed by Seller in connection herewith or in
connection with the consummation of the transactions contemplated by this Agreement. Seller
has full power and authority (a) to own or operate the Facility and Real Property as the same
currently are owned and operated and (b) to conduct its business as the same currently is being
conducted.

(v)     Binding Obligations. The execution and delivery of this Agreement and the other Closing
Documents required to be executed by Seller, and the performance of Seller’s obligations under
this Agreement and the other Closing Documents required to be executed by Seller, have been
duly authorized by all requisite action, and this Agreement has been duly executed and delivered
by Seller. Subject to entry of the Private Sale Order, this Agreement and the Closing Documents
when executed and delivered by Seller constitute the valid and binding obligation of Seller
subject, however, to bankruptcy and similar laws affecting the rights and remedies of creditors
generally. The execution and delivery of this Agreement and the other Closing Documents to be
executed and delivered by Seller and the performance by Seller of such entity’s duties and
obligations under this Agreement and the other Closing Documents to be executed and delivered
by Seller are consistent with and not in violation of, and will not create any adverse condition or
result in the creation of any Encumbrance or interest of any kind on the Purchased Assets under,
any contract, agreement or other instrument to which Seller is a party, any judicial order or
judgment of any nature by which Seller is bound, or the organizational documents of Seller.

(w)     Arm’s Length Transaction. The Purchase Price represents fair and adequate consideration
for the Project. The sale of the Project on the terms and conditions set forth in this Agreement,
together with the other transactions contemplated herein, are




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           the result of arm’s length transactions among Seller and Purchaser and/or their respective
           Affiliates.

(x)    No Misrepresentations. Seller has not intentionally misstated or misrepresented any
material fact, or intentionally failed to state facts in connection with this Agreement or in any
other document delivered in connection with the transactions contemplated by this Agreement,
the exclusion of which makes such statement or representation misleading.

(y)     Seller Status. Seller is not a “foreign person” within the meaning of Section 1445(f)(3) of
the United States Internal Revenue Code of 1986 (as amended, and the regulations promulgated
thereunder, the “IRC”). Neither Seller nor any of its Affiliates are (i) identified on any of the
Lists (as defined below), (ii) a Designated National (as defined below), (iii) a Person (as defined
below) designated under Section 1(b), (c) or (d) of Executive Order No. 13224 (September 23,
2001), any related enabling legislation, any other similar Executive Order or any similar
regulation, (iv) a Person who has been convicted of a felony involving moral turpitude in any
state or federal court, or (v) a Person who is then the subject of any investigation by any
governmental authority or any class action litigation in which it is alleged that it or any of its
Affiliates has engaged in “predatory” or other improper lending or servicing or other unethical or
improper business conduct.

(z)    Seller’s Knowledge. For purposes of this Section 10, the term “Seller’s Knowledge”,
“Knowledge of Seller”, “Knowledge”, and similar words or phrases shall mean the actual
knowledge, with reasonable duty of inquiry, of Suzanne Sterling with regard to subsection (d)
above and Andrew Hinkelman with regard to subsections (m) and (n) above. Seller represents and
warrants that such individuals affiliated with Seller are in the best position to have knowledge of
the matters addressed in this Section 10.

        11. Representations and Warranties and Covenants of Purchaser. Purchaser
represents and warrants (which representations and warranties shall survive the Closing and deed
recording as provided herein) to Seller as of the date of this Agreement and as of the Closing
Date, and covenants with Seller that:

(a)    Status of Purchaser. Purchaser is a limited partnership duly organized, validly existing and
in good standing under the laws of the State of California.

(b)     Validity and Conflicts. This Agreement and all documents and agreements executed and
delivered in accordance herewith by Purchaser, are valid and binding obligations of Purchaser,
enforceable against Purchaser in accordance with their respective terms, except as the
enforceability thereof may be limited by bankruptcy, insolvency, reorganization, moratorium or
other similar laws relating to the enforcement of creditors’ rights generally and by general
principles of equity. The execution of this Agreement and the consummation of the transactions
contemplated in this Agreement in accordance with its terms have been approved by all necessary
action of Purchaser under its organizational documents and does not and will not result in a breach
of the terms and conditions of, nor constitute a default under or violation of, Purchaser’s
organizational




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          documents or any law, regulation, court order, mortgage, note, bond, indenture,
          agreement, license or other instrument or obligation to which a Purchaser is now a party.

(c)     Authority. Purchaser has full power and authority to execute and to deliver this
Agreement and all other documents contemplated herein and to carry out the transactions
contemplated herein and therein. Purchaser has duly and properly taken or obtained or caused to
be taken or obtained all action necessary for it (i) to enter into and to deliver this Agreement and
any and all documents and agreements executed by Purchaser in connection herewith, and (ii) to
carry out the terms of this Agreement and the transaction contemplated by it. No other action by
or on behalf of Purchaser is or will be necessary to authorize the execution, delivery and
performance of this Agreement and any documents and agreements executed or to be executed by
Purchaser in connection herewith or to authorize the transactions contemplated by this
Agreement. No consent of any third party is or will be necessary in connection with the
execution, delivery and performance of this Agreement and any documents and agreements
executed or to be executed by Purchaser in connection herewith or in connection with the
consummation of the transactions contemplated by this Agreement. There is no litigation,
investigation or other proceeding pending or, to the best of Purchaser’s knowledge, threatened
against or relating to Purchaser which is material to this Agreement.

(d)    Binding Obligations. The execution and delivery of this Agreement and the other Closing
Documents required to be executed by Purchaser, and the performance of Purchaser’s obligations
under this Agreement and the other Closing Documents required to be executed by Purchaser,
have been duly authorized by all requisite action, and this Agreement has been duly executed and
delivered by Purchaser. This Agreement and the Closing Documents when executed and
delivered by Purchaser constitute the valid and binding obligation of Purchaser subject, however,
to bankruptcy and similar laws affecting the rights and remedies of creditors generally. The
execution and delivery of this Agreement and the other Closing Documents to be executed and
delivered by Purchaser and the performance by Purchaser of such entity’s duties and obligations
under this Agreement and the other Closing Documents to be executed and delivered by
Purchaser are consistent with and not in violation of any contract, agreement or other instrument
to which Purchaser is a party, any judicial order or judgment of any nature by which Purchaser is
bound, or the organizational documents of Purchaser.

(e)     Ineligible Purchaser. Purchaser is not an Ineligible Purchaser. “Ineligible Purchaser”
means any Person who is, or whose Affiliate is, (i) identified on any of the Lists (defined below),
(ii) a “Designated National” as defined in the Cuban Assets Control Regulations, 31 C.F.R. Part
515, (iii) a Person designated under Section 1(b), (c) or (d) of Executive Order No. 13224
(September 23, 2001), any related enabling legislation, any other similar Executive Order or any
similar regulation, (iv) a Person who has been convicted of a felony involving moral turpitude in
any state or federal court, or (v) a Person who is then the subject of any investigation by any
governmental authority or any class action litigation in which it is alleged that it or any of its
Affiliates has engaged in “predatory” or other improper lending or servicing or other unethical or
improper business conduct. As used herein, “Lists” means any or all of (i) the Specially
Designated Nationals and Blocked Persons List maintained by the Office of Foreign



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           Assets Control (“OFAC”), (ii) any similar list maintained by the Department of the
           Treasury, and (iii) any other similar list maintained by OFAC or any other agency or
           department of the United States Government pursuant to any authorizing statute,
           Executive Order No. 13224 (September 23, 2001), any related enabling legislation or
           other similar Executive Order or any other similar regulation.

12. Eminent Domain. In the event that prior to the Closing, any judicial, administrative or
other proceeding relating to the threatened or proposed taking of the Project or any portion
thereof by condemnation or eminent domain or any act in the nature of eminent domain affecting
the Project is commenced or threatened by a governmental authority having the power of eminent
domain, Seller shall immediately give Purchaser written notice thereof. If any such proceeding
relates to a Substantial Portion (as defined below) of the Project or would adversely affect
Purchaser’s ability to lease such Project to an operator (or would give any such operator the right
to terminate its lease), Purchaser may elect to terminate this Agreement by written notice to Seller
prior to the Closing, in which event the parties shall have no further rights or liabilities hereunder.
If Purchaser does not exercise its right to terminate under this Section 12, this Agreement shall
remain in full force and effect, and, at the Closing, Purchaser shall be credited or assigned all of
Seller’s right, title and interest with respect to such proceeding and any proceeds or awards
relating thereto. Unless or until this Agreement is terminated in its entirety pursuant to this
Section 12, Seller shall not take any action with respect to any pending or threatened eminent
domain proceeding without the prior written consent of Purchaser. If the proceeding does not
involve a Substantial Portion of the Project and would not adversely affect Purchaser’s ability to
lease such Project to an operator (or give any such operator the right to terminate its lease),
Purchaser shall not have the right to terminate this Agreement, but shall be credited or assigned,
at the Closing, all of Seller’s rights to the proceeds or awards relating thereto. For the purposes of
this Section 12, the proceeding shall be deemed to involve the “Substantial Portion” of the
Project if the proceeding (a) affects more than the equivalent of $150,000 in value, as reasonably
determined by Purchaser, (b) causes a material deprivation of access to or from the Project, (c)
involves a taking of parking areas located on the Project such that subsequent to such taking, the
Project will be in violation of municipal zoning codes and ordinances, or (d) involves the
relocation of utility facilities serving the Project that has a Material Adverse Effect on the
transaction contemplated by this Agreement.

13.      Risk of Loss; Casualty.

(a)     At all times prior to the Closing, the entire risk of loss or damage to the Project by fire or
other casualty occurring prior to the Closing is and shall be borne and assumed by Seller.

(b)     If prior to the Closing Date, the Project or any portion thereof shall be destroyed or
damaged in an amount in excess of the Material Damage Amount (as defined below), by fire or
other casualty, or if the Project is damaged as a result of fire or other casualty to such extent that
Purchaser is unable to lease such Project to an operator (or gives any such operator the right to
terminate its lease), Purchaser shall have the option to terminate this Agreement, in which event
the parties shall have no further rights or obligations hereunder. If Purchaser does not exercise its
right to terminate this Agreement under this Section 13, this Agreement shall remain in full force
and effect,



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           and at the Closing, Purchaser shall be credited or assigned all of Seller’s right, title and
           interest with respect to the insurance proceeds arising from such fire or other casualty,
           plus an amount equal to Seller’s deductible on its casualty insurance policies. Seller
           agrees to give Purchaser notice of any fire or other casualty within forty-eight (48) hours
           after any such event, and Purchaser may exercise its termination option by delivering
           written notice to Seller at any time prior to the Closing. In the event of fire or other
           casualty to the Project whereby Purchaser does not have the right to terminate this
           Agreement or has such right but elects not to do so, then Purchaser shall have the right
           prior to the Closing Date, to control the adjustment and settlement of any insurance claim
           relating to said damage, and, on the Closing Date, Seller shall assign to Purchaser
           Seller’s interest in and to any insurance policies and/or proceeds with respect to said
           damage. In such event, Seller will also credit against the Purchase Price due Seller from
           Purchaser at the Closing the amount of any deductible on the casualty and insurance
           policies covering said damage. For the purposes hereof, the term “Material Damage
           Amount” shall mean: (a) damage reasonably determined by Purchaser to be in excess of
           $150,000 to repair or restore; (b) that causes a material deprivation of access to or from
           the Project; (c) that involves parking areas located on the Project such that subsequent to
           such damage, the Project will be in violation of municipal zoning codes and ordinances;
           (d) that involves the relocation of utility facilities serving the Project; or (e) that has a
           Material Adverse Effect on the transaction contemplated by this Agreement.

         14. Title Commitment, Survey, Zoning Report and Searches. Purchaser shall
obtain the following items:

(a)     A title commitment (the “Title Commitment”) for ALTA Owner’s Title Insurance
Policy (2006 Form) (or its local equivalent), for the Project, issued by the Title Company. The
Title Commitment shall be in an amount equal to the Purchase Price, shall have an effective date
on or after the Closing Date, shall show title to the Project in Seller subject only to the Permitted
Exceptions, and shall be obtained at Seller’s sole cost and expense, if customary in the State in
which the Project is located. The Title Commitment shall include such endorsements as
Purchaser may request (including without limitation, an ALTA 3.1 zoning endorsement with
Parking, Comprehensive, Access, Tax Parcel, Same as Survey, Contiguity, and Utility Facility)
and shall include full extended coverage over the standard exceptions contained in such policy;

(b)       Legible copies of all documents noted as exceptions to title on the Title Commitment;

(c)      A current survey of the Project (the “Survey”) prepared by a land surveyor licensed by
the State of California, which Survey shall: (i) be certified to Purchaser and the Title Company
(ii) be prepared in accordance with the most recent survey standards adopted by ALTA/ACSM in
2016 (including “Table A” items 1, 2, 3, 4, 6(a), 6(b), 7(a), 7(b)(1), 7(c), 8, 9, 10(a) (if
applicable), 11(a), 13, 14, 15 (if applicable), and 16 through 20), (iii) set forth the legal
description of the Project, (iv) show all improvements (including fences), visible or recorded
easements and building lines (together with recording information concerning the documents
creating any such easements and building lines), curb cuts, sewage, water, electricity, gas and
other utility



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        facilities, roads and means of physical and record ingress and egress to and from the
Project by public roads (including the dimensions of abutting streets), and the net (after deduction
of land dedicated or used or subject to easements for streets, roads, highways, fire lanes and
drainage courses) and gross area (in each case, accurate to the one-thousandth of an acre) of the
land included in the Project, (v) certify that the Project is not located in a wetlands area or in an
area designated as a special flood hazard area by the U.S. Department of Housing and Urban
Development, (vi) show improvements on adjoining property which are within five (5) feet of the
property lines of the Project, and (vii) otherwise be satisfactory for purposes of obtaining
extended coverage over all standard or general survey exceptions in the title insurance policies;

(d)     A zoning report for the Real Property (the “Zoning Report”), which shall show that (i)
the use of the Real Property as it is proposed to be used is a permitted use or a legal non-
conforming use under existing zoning and other land use ordinances and laws, and (ii) that the
use of the Real Property and the improvements thereon conforms to all requirements of existing
zoning and other land use ordinances and laws applicable thereto; and

(e)     UCC, judgment, bankruptcy, tax and other appropriate searches reasonably acceptable to
Purchaser’s attorney of appropriate records of the Secretary of State of California, and of the
recorder, registrar, clerk (or other governmental office where real property documents are filed
for recording) of the county in which the Project is located, on Seller, any current and prior
tenants, owners and operators of the Project, including but not limited to Crestwood, the name of
the Project and such other parties and in such other jurisdictions as Purchaser may request,
showing the absence of any security interests, judgments, liens and bankruptcy proceedings
affecting Seller, or Seller’s title to or interest in Purchased Assets, other than the Permitted
Exceptions, to the extent applicable thereto (collectively, the “Lien Searches”).

        15.    Defects. Purchaser will provide to Seller within seven (7) days of the date of this
Agreement, written notice to the extent (i) the Title Commitment discloses any title exceptions
not acceptable to Purchaser, (ii) the Survey discloses any matters not acceptable to Purchaser,
(iii) the Zoning Report discloses any matters not acceptable to Purchaser, or (iv) the Lien
Searches disclose any matters not acceptable to Purchaser (any such matters being referred to as
a “Defect”). Thereafter, Purchaser shall have until the Closing Date in which to reexamine the
Title Commitment, Survey, Zoning Report and Lien Searches in which to give Seller written
notice of any additional objections for matters not existing as of the date of this Agreement and
disclosed by such reexamination. If the Title Commitment, Survey, Zoning Report and/or the
Lien Searches disclose Defects and Purchaser gives timely written notice of objections to the
Defects as required herein (“Objections”), Seller shall have until five (5) business days after
receipt of the Objections in which to indicate to Purchaser in writing which of the Defects that
Seller will cure. If Seller has not notified Purchaser in writing of Seller’s agreement to cure any
Objection within five (5) business days after receipt of the Objections, Seller will be deemed to
have elected not to cure the Objections. If Seller so declines to so cure or remove any and all
Objections, then Purchaser may elect either to (i) terminate this Agreement, all rights and
obligations of the parties under this Agreement shall expire, and this Agreement shall become
null and void except with respect to any obligations which survive the termination of this



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Agreement; (ii) if, but only if, such Objection is based upon either (A) a defect, claim, lien or
encumbrance caused by Seller first arising and relating to the period after the date hereof, or (B) a
judgment lien against Seller that encumbers the Project or a mortgage granted by Seller, satisfy
the Objections, after deducting from the Purchase Price the cost of satisfying such Objections that
can be satisfied by the payment of money; or (iii) waive such requirements, in which event such
Defects shall be deemed Permitted Exceptions, and proceed to Closing. If Seller agrees to cure an
Objection pursuant to this Section 15, but fails to cure such Objection on or before Closing, Seller
shall be in default of its covenant to cure such Objection, and Purchaser shall be entitled to the
remedies set forth in this Agreement, including, without limitation, recouping the Expense
Reimbursement and the remedies set forth in Section 21 (Defaults; Termination).
Notwithstanding the provisions of Section 30 (Notices), Purchaser or Purchaser’s counsel may
provide any written notices to Seller contemplated by this Section 15 by email to Seller’s counsel
Christy Pennington at christy.pennington@wallerlaw.com.

          16.       Closing Documents.

                   (a) At the Closing, Seller shall deposit or cause to be deposited in the
          Closing Escrow the following, in form and substance as mutually agreed upon between
          the parties:

(i)    a special warranty deed for the Project (the “Deed”), free and clear of any and all
Encumbrances and interests, other than the Permitted Exceptions pertaining to the Project, in
recordable form approved by Purchaser and executed by Seller conveying fee simple title to the
Project to Purchaser;

(ii) customary payoff letters from the holders of any outstanding liens on the Project or the
Purchased Assets in form sufficient to allow the title company to remove such liens at Closing
from the title commitment;

(iii) bills of sale and/or assignments (to the extent such items are included in the Purchased
Assets), in a form approved by Purchaser and executed by Seller conveying all of the items of
Purchased Assets to Purchaser;

(iv) originals or if unavailable, copies of all items set forth in subsections (a)(ii)-(iii) of
Section 1 provided, however, that such originals shall be deemed delivered to Purchaser if they
remain at the Facility following the Closing;

(v)    a certificate executed by a duly authorized representative of Seller certifying that all of the
representations and warranties by Seller contained in this Agreement are remade and are true and
correct as of the Closing Date (except to the extent they expressly relate to an earlier date) subject
only to the Supplemental Disclosure Letter (as defined below);

(vi) an affidavit executed by Seller stating that the sale of the Seller is a “United States Person”
and the Project is not subject to the withholding tax requirement imposed by Section 1445A of
the IRC and the rules and regulations promulgated thereunder;


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(vii) a closing statement containing the prorations and adjustments to the Purchase Price
described in Section 35 hereof, and otherwise summarizing the economic transactions
contemplated by this Agreement;

(viii) a certificate, executed by a duly authorized representative of Seller certifying true and
correct copies of (1) its certificate of limited partnership (or equivalent thereof), (2) a certificate
of good standing (or equivalent thereof) for Seller issued within ten (10) days of the Closing by
the Secretary of State of the State of California (3) its partnership agreement (or equivalent
thereof), and (4) resolutions of its partners, members, managers, directors or governing board, as
applicable, authorizing the transactions contemplated by this Agreement;

(ix)   such discharges, releases and termination statements necessary to discharge, release and
terminate any and all Encumbrances on the Purchased Assets other than the Permitted
Exceptions;

(x)       a certified copy of the Final Private Sale Order; and

(xi)    such other documents, affidavits, certifications and instruments (including without
limitation ALTA statements and “gap” undertakings) as may be reasonably required by the Title
Company to issue its title insurance policy as required herein or as may be required by state or
local law (including without limitation state, county and local transfer declarations), and such
other documents and instruments as may reasonably be required by Purchaser and its counsel in
order to consummate the transactions contemplated hereby and to otherwise effect the intentions
and agreements of the parties hereto.

Without limiting the terms and provisions of Section 24 hereof, Seller hereby agrees that at any
time prior to Closing, Purchaser may designate or nominate one or more Persons or entities to
accept title to or receive one or more of the Purchased Assets, and upon any such nomination or
designation by Purchaser to Seller, Seller shall: (i) cause the appropriate documents described
above in this subsection (a) to name and run in favor of such nominated or designated Persons or
entities, and (ii) deliver the appropriate Purchased Assets to such nominated or designated
Persons or entities; provided, however, no such designation or nomination shall release Purchaser
from its obligations hereunder.

                  (b)  At the Closing, Purchaser shall deposit or cause to be deposited in the
          Closing Escrow the following, in form and substance acceptable to Seller and its counsel;

(i)       the Purchase Price;

(ii)      a counterpart of the closing statement described in Section 16(a)(vii) hereof;

(iii) a certificate executed by Purchaser stating that all of the representations and warranties by
Purchaser contained in this Agreement are remade and are true and correct as of the Closing Date
(except to the extent they expressly relate to an earlier date); and



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                            (iv) such other documents and instruments as may reasonably be required
                     by Seller.

                   (c)   After the Closing, each of Seller and Purchaser agree that it will take such
          actions and execute and deliver such further instruments of assignment, conveyance and
          transfer as may reasonably be requested by any other party to give effect to the transaction
          contemplated by this Agreement.

          17.       Conditions Precedent to Performance of Agreement by Purchaser and Seller.

                   (a)   The obligation of Purchaser to close the transaction contemplated hereby
          shall be subject to the satisfaction of the following conditions prior to, or concurrently
          with, the Closing:

(i)    all of Seller’s representations and warranties contained herein shall be true and correct at
and as of the Closing Date (without regard to the Supplemental Disclosure Letter);

(ii)    all agreements, covenants and obligations which under this Agreement are required to be
performed, delivered or complied with prior to or at the Closing, including but not limited to those
matters described in Section 8 and Section 14, shall have been performed, delivered or complied
with, as applicable;

(iii) Crestwood, Tenant, and/or any of their Affiliates shall have all necessary licenses and
other governmental and payor consents, approvals and certifications required in connection with
the transactions contemplated by this Agreement and as a condition to or in connection with the
operation of the Project by Crestwood, Tenant, and/or any of their Affiliates in a manner
substantially similar to its operation prior to the Closing, and any and all necessary governmental
inspections required in connection with the transactions contemplated hereby shall have been
favorably completed;

(iv)   the service providers referenced in Section 14 have provided such reports, commitments
and survey to Purchaser in form and substance reasonably satisfactory to Purchaser on and as of
the Closing Date;

(v)    Purchaser shall be satisfied that there has been no Material Adverse Effect on the
condition of the Purchased Assets;

(vi)  Purchaser shall not have terminated this Agreement pursuant to any other provision of this
Agreement;

(vii)     no judgment or order that would prevent Seller from closing;

(viii) the release of any and all Encumbrances and interests securing the payment of money
encumbering the Purchased Assets;




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(ix)    the Board of Directors of National Health Investors, Inc., parent and owner of Purchaser,
shall have approved this transaction in its sole and absolute discretion;



(ix)      intentionally omitted;

(x)       Purchaser shall have delivered the Holdback Deposit pursuant to Section 2(d);

(xi)   Purchaser shall have entered into the new Lease, and all related transaction documents for
the Project with Crestwood and/or Tenant on terms acceptable to Purchaser within thirty (30)
days of the date of this Agreement;

(xii) the Bankruptcy Court shall have entered a Final Private Sale Order in form and substance,
including with respect to all findings of fact and conclusions of law, acceptable to the Seller and
Purchaser; and

(xiii) both the Purchaser and the Title Company obtain sufficient proof, including, without
limitation, lien waivers, certificates of completion, and/or estoppel letters/certificates, in form
and substance satisfactory to both Purchaser and Title Company, from any and all necessary
parties, including, without limitation, contractors, subcontractors, material men, and suppliers,
demonstrating that any and all Encumbrances related to the Project, have been waived or
released;

(xiv) proof of proper zoning for the Project in form and substance satisfactory to the Purchaser
and Title Company; and

(xv) the Bankruptcy Court shall have approved the Debtors’ rejection of the Existing Lease
and Crestwood shall have agreed to terminate the Existing Lease.

In the event that any of the foregoing conditions set forth in this Section 17(a) has not, in
Purchaser’s reasonable judgment, been satisfied prior to or as of the Closing, Purchaser may, at
its option, elect at any time either (i) to terminate this Agreement upon written notice to Seller
(without waiving or releasing any of its remedies for any Seller’s Default); or (ii) to waive any
one or more of the foregoing conditions contained in this Section 17(a).

                 (b)      The obligation of Seller to close the transaction contemplated hereby shall
          be subject to the satisfaction of the following conditions prior to, or concurrently with, the
          Closing:

(i)     Purchaser shall have performed and complied with all agreements, covenants and
obligations which under this Agreement are required to be performed or complied with by
Purchaser prior to or at the Closing, and all of Purchaser’s representations and warranties
contained herein shall be true and correct at and as of the Closing Date; and

(ii)  Seller shall not have terminated this Agreement pursuant to any other provision of this
Agreement.



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In the event that any of the foregoing conditions set forth in this Section 17(b) has not, in Seller’s
judgment, been satisfied prior to or as of the Closing, Seller may, at its option, elect at any time
either (i) to terminate this Agreement upon written notice to Purchaser (without waiving or
releasing any of its remedies for any Purchaser’s Default); or (ii) to waive any one or more of the
foregoing conditions contained in this Section 17(b).

18.       Intentionally Deleted.

19.       Restrictive Covenants.

(a)    Seller covenants and agrees that during the Restricted Period (as defined below), neither
Seller nor any of its Affiliates will (A) directly or indirectly, own, manage, lease or operate a
mental health rehabilitation facility, or similar type facility providing behavioral health, within
the Protected Territory (as defined below) that competes or would reasonably be expected to
compete with the Facility, (B) solicit for employment any person then employed at the Facility or
encourage any such person to terminate his/her employment with the Facility, or (C) make
disparaging remarks or similar communications regarding Crestwood, Tenant, Purchaser, or any
owner, officer, director, employee, or agent of Crestwood, Tenant, or Purchaser, and/or the
Facility (each a “Covered Person”). Seller, on behalf of itself and each other Covered Person,
acknowledges and agrees that the violation of the covenants set forth in this Section 19 would
cause irreparable harm to Purchaser, Tenant, and Crestwood and, as a result, Purchaser, Tenant,
and Crestwood would be entitled to seek an injunction from any court of competent jurisdiction
enjoining and restraining any act prohibited by this Section 19 Seller, on behalf of itself and each
other Covered Person, acknowledges and agrees that the area and time limitations contained in
this Section 19 are reasonable.

(b)    Seller, on behalf of itself and each other Covered Person, acknowledges and agrees that the
area (Protected Territory) and time limitations (Restricted Period) are properly required for the
protection of the business interests of Purchaser, Tenant, and Crestwood due to the status and
reputation of Seller in the market in which the Facility is located.

(c)    The parties agree that nothing in this Section 19 shall be construed as prohibiting
Purchaser, Tenant, or Crestwood from pursuing any other remedies available to it for any breach
or threatened breach of this covenant not to compete, including the recovery of damages from any
Covered Person or any other person or entity acting in concert with any Covered Person. Seller
acknowledges and agrees that in the event of a breach of this covenant not to compete, it will pay
reasonable attorney’s fees and expenses incurred by Purchaser, Tenant, and/or Crestwood in
enforcing this covenant not to compete.

(d)    It is further agreed that if at any time it shall be determined that any of the covenants set
forth in this Section 19 are unreasonable as to time or area, or both, by any court of competent
jurisdiction, Purchaser, Tenant, and Crestwood shall be entitled to enforce the applicable
covenant for such period of time and within such area as such court may determine to be
reasonable.




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(e)       For purposes of this Section 19, the following definitions shall apply:

(i)       “Protected Territory” shall mean a ten (10) mile radius of the Facility; and

(ii)      “Restricted Period” shall mean a period of two (2) years after the Closing Date.

          20.       Indemnity.

(a)     Subject to the provisions of this Section 20 and Bankruptcy Court approval, Seller shall
indemnify, defend, reimburse and hold harmless Purchaser from and against any claims, causes
of action, judgments, losses, liabilities, penalties, damages, costs and expenses, including
reasonable attorneys’ fees and other costs of defense (collectively, the “Damages”), suffered or
incurred by Purchaser and caused by, resulting from or arising by reason of (i) any material
breach of any representation or warranty by Seller, (ii) any material breach of any covenant by
Seller, or (iii) Seller’s Default hereunder, (iv) the operation, use or ownership of the Facility
prior to the Closing Date, (v) any Excluded Asset or Excluded Liability, and (vi) any failure of
the Project to comply with any statute, law, ordinance or regulation relating to zoning or
conditional use permitting for the permitted use of a 125-bed mental health rehabilitation center,
including but not limited to any costs and expenses incurred by Purchaser or Crestwood to
obtain proper zoning or a current zoning letter for the Project after the Closing in form and
substance satisfactory to Purchaser.

(b)    Subject to the provisions of this Section 20, Purchaser shall indemnify, defend, reimburse
and hold harmless Seller from and against any Damages, suffered or incurred by Seller or any
person or entity and caused by, resulting from or arising by reason of: (i) any inaccuracy or
breach of any representation or warranty by Purchaser, (ii) any breach of any covenant by
Purchaser, and (iii) Purchaser’s Default hereunder.

(c)     A party entitled to be indemnified pursuant to subsections (a) or (b) above (“Indemnified
Party”) shall notify the party liable for such indemnification (“Indemnifying Party”) in writing
of any claim or demand which the Indemnified Party has determined, has given or could give rise
to a right of indemnification under this Agreement, as soon as possible after the Indemnified
Party becomes aware of such claim or demand; provided, however, that the Indemnified Party’s
failure to give such notice to the Indemnifying Party in a timely fashion shall not result in the loss
of the Indemnified Party’s rights with respect thereto except to the extent the Indemnifying Party
is prejudiced by the delay, provided, however, that no such claim may be made by an Indemnified
Party following the expiration of the Survival Period (as defined below). The Indemnifying Party
shall satisfy its indemnification obligations within thirty (30) days after the receipt of written
notice thereon from the Indemnified Party.

(d)    If the Indemnified Party shall notify the Indemnifying Party of any claim or demand
pursuant to subsection (c) above, and if such claim or demand relates to a claim or demand
asserted by a third party against the Indemnified Party, the




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          Indemnifying Party shall have the right to either (i) pay such claim or demand or (ii)
          employ counsel reasonably acceptable to the Indemnified Party to defend any such claim
          or demand asserted against the Indemnified Party. The Indemnified Party shall have the
          right to participate in the defense of any such claim or demand at its own expense. The
          Indemnifying Party shall notify the Indemnified Party in writing, as promptly as possible
          (but in any case before the due date for the answer or response to or payment of a claim)
          after the date of the notice of claim given by the Indemnified Party to the Indemnifying
          Party under subsection (c) above of its election to defend in good faith any such third
          party claim or demand. So long as the Indemnifying Party is defending in good faith any
          such claim or demand asserted by a third party against the Indemnified Party, the
          Indemnified Party shall not settle or compromise such claim or demand. The Indemnified
          Party shall make available to the Indemnifying Party or its agents all records and other
          materials in the Indemnified Party’s possession reasonably required by the Indemnifying
          Party for its use in contesting such third party claim or demand. Whether or not the
          Indemnifying Party elects to defend any such claim or demand, the Indemnified Party
          shall have no obligations to do so.

(e)     No Indemnified Party may settle or compromise any claim or consent to the entry of any
judgment with respect to which indemnification is being sought hereunder without the prior
written consent of the Indemnifying Party, unless (i) the Indemnifying Party fails to assume and
timely maintain the defense of such claim or (ii) such settlement, compromise or consent includes
an unconditional release of the Indemnifying Party from all liability arising out of such claim and
does not contain any equitable order, judgment or term which in any manner affects, restrains or
interferes with the business of the Indemnifying Party or any Affiliate of the Indemnifying Party.
An Indemnifying Party may not, without the prior written consent of the Indemnified Party, settle
or compromise any claim or consent to the entry of any judgment with respect to which
indemnification is being sought hereunder unless such settlement, compromise or consent
includes an unconditional release of the Indemnified Party from all liability arising out of such
claim and does not contain any equitable order, judgment or term which in any manner affects,
restrains or interferes with the business of the Indemnified Party or any of the Indemnified Party’s
Affiliates.

(f)    After the Closing Date, except with respect to an inaccuracy in or breach resulting from
fraud or intentional material misrepresentation in which the parties’ remedies shall not be limited,
indemnification pursuant to this Section 20 shall be each party’s sole and exclusive remedy with
respect to any inaccuracy in or breach of any representation or warranty contained in this
Agreement, in any certificate or other document delivered at Closing, or otherwise given in
connection with the transactions contemplated herein.

(g)     Notwithstanding any other provision in this Agreement to the contrary or any provision of
applicable law, neither the Seller nor the Seller Indemnifying Parties shall be required to
indemnify the Purchaser or Purchaser Indemnified Parties for Damages arising under Section
20(a)(i) unless and until the aggregate amount of such Damages for which the Purchaser or
Purchaser Indemnified Parties are otherwise entitled to indemnification pursuant to this Section
20 exceeds Twenty-Five Thousand Dollars



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          ($25,000) (the “Basket”). After the Basket is exceeded, the Purchaser and/or Purchaser
          Indemnified Parties shall be entitled to be paid the amount of all Damages from the first
          dollar, subject to the limitations on recovery and recourse set forth herein. In no event
          shall Seller or Seller Indemnifying Parties be liable to indemnify the Purchaser or
          Purchaser Indemnified Parties or otherwise have liability to the Purchaser Indemnified
          Parties if the matter forming the basis of the claim was disclosed in the Seller Disclosure
          Schedule or Supplemental Disclosure Letter. Additionally, in no event shall Seller or
          Seller Indemnifying Parties be liable to indemnify Purchaser or Purchaser Indemnified
          Parties for any Damages arising under Section 20(a)(i) in excess of One Million and
          No/100 Dollars ($1,000,000) in the aggregate (the “Indemnification Cap”), it being
          understood and agreed that the liability of Seller and the Seller Indemnifying Parties on
          account of any Damages shall collectively be limited to the Indemnification Cap except as
          otherwise provided herein. Finally, in no event shall Seller or Seller Indemnifying Parties
          be liable to indemnify Purchaser or Purchaser Indemnified Parties for any claims for
          Damages made after the expiration of the applicable Survival Period as set forth in
          Section 22. Notwithstanding the foregoing and for the avoidance of doubt, the Basket and
          Indemnification Cap shall not apply for any indemnification claims for Damages arising
          under (i) Section 20(a)(i) to the extent based on fraud or intentional misrepresentation, or
          (ii) Sections 20(a)(ii)-(v).

                  (h)    Notwithstanding any other provision in this Agreement to the contrary or
          any provision of applicable law, neither the Purchaser nor the Purchaser Indemnifying
          Parties shall be required to indemnify the Seller or Seller Indemnified Parties for
          Damages arising under Section 20(b)(i) unless and until the aggregate amount of such
          Damages for which the Seller or Seller Indemnified Parties are otherwise entitled to
          indemnification pursuant to this Section 20 exceeds the Basket. After the Basket is
          exceeded, the Seller and/or Seller Indemnified Parties shall be entitled to be paid the
          amount of all Damages from the first dollar, subject to the limitations on recovery and
          recourse set forth herein. Additionally, in no event shall Purchaser or Purchaser
          Indemnifying Parties be liable to indemnify Seller or Seller Indemnified Parties for any
          Damages arising under Section 20(b)(i) in excess of the Indemnification Cap, in the
          aggregate, it being understood and agreed, that the liability of Purchaser and Purchaser
          Indemnifying Parties on account of any Damages shall collectively be limited to the
          Indemnification Cap. Finally, in no event shall Purchaser or Purchaser Indemnifying
          Parties be liable to indemnify Seller or Seller Indemnified Parties for any claims for
          Damages made after the expiration of the applicable Survival Period as set forth in
          Section 22. Notwithstanding the foregoing and for the avoidance of doubt, the Basket
          and the Indemnification Cap shall not apply for any indemnification claims for Damages
          arising under (i) Section 20(b)(i) to the extent based on fraud or intentional
          misrepresentation, or (ii) Sections 20(b)(ii)-(iii).

        21.     Defaults; Termination. The following, with any required notice and/or passage of
time, shall give rise to either Seller’s or Purchaser’s ability to terminate this Agreement:

                    (a)        By Seller in the following situations:




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                    (i)     Purchaser’s Default. In the event that Purchaser fails to perform any
                    material covenant or agreement contained in this Agreement prior to the Closing
                    and such failure is not cured within ten (10) days after written notice thereof to
                    Purchaser, or if any of Purchaser’s warranties or representations contained in this
                    Agreement shall not be true and correct in any respect prior to the Closing (the
                    foregoing being referred to as a “Purchaser’s Default”), Seller may at its option
                    elect to do any of the following: (i) waive such breach and proceed to close this
                    Agreement; or (ii) terminate this Agreement by written notice to Purchaser (except
                    in the event a Seller’s Default has also occurred).

                    (ii)    Failure to Satisfy Conditions. If the conditions of Section 17(b) are not
                    timely satisfied on or before the Closing, or if satisfaction of such condition is or
                    becomes impossible, other than through the failure of the Seller to comply with
                    its obligations herein, and the Seller has not previously waived such condition.

                    (b)       By Purchaser in the following situations:

                    (i)     Seller’s Default. In the event Seller fails to perform any material covenant
                    or agreement contained in this Agreement prior to the Closing and such failure is
                    not cured within ten (10) days after written notice thereof to Seller, or if any of
                    Seller’s warranties or representations contained in this Agreement shall not be true
                    and correct in any respect prior to the Closing (the foregoing being referred to
                    herein as a “Seller’s Default”), Purchaser may at its option elect to do any of the
                    following: (i) waive such breach and proceed to close this Agreement under the
                    provisions set forth herein; or (ii) terminate this Agreement by written notice to
                    Seller and Seller shall pay the Expense Reimbursement and/or Break-Up Fee, as
                    may be applicable pursuant to the terms stated herein; or (iii) maintain an action
                    for specific performance.

                    (ii)   Failure to Satisfy Conditions. If the conditions of Sections 17(a)(i)-(xv)
                    are not timely satisfied on or before the Closing, or if satisfaction of such
                    condition is or becomes impossible, other than through the failure of the Purchaser
                    to comply with its obligations herein, and the Purchaser has not previously waived
                    such condition.

                    (iii)     By Purchaser for Damage. By Purchaser as provided for in Sections 12 or
                    13.

                    (iv)   By Passage of Time. If a Final Private Sale Order approving a private sale
                    has not been entered on or before sixty (60) days from the Petition Date, the
                    Closing has not occurred on or before ninety (90) days from the Petition Date (or
                    such later date as the parties may mutually agree in writing), or the timeline and
                    milestones as set forth in Sections 6(a)-(c) are not timely satisfied and/or achieved.




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(v)     Other Reasons. For any other reason as provided for herein that gives rise to the
Purchaser’s ability to terminate this Agreement, including but not limited to the failure of the
Seller to obtain necessary consents of creditors or the Bankruptcy Court to pay the Purchaser
Carve Out, which shall include the Break-Up Fee and the Expense Reimbursement.

(vi)  Dismissal. If the Bankruptcy Case is dismissed or converted into one or more cases under
Chapter 7 of the Bankruptcy Code, or a trustee is appointed for the Seller.

(vii)     Intentionally Deleted.

(viii) Alternate Transaction. The Bankruptcy Court does not approve a private sale to
Purchaser or denies the Private Sale Motion to Purchaser, or the Seller determines that it cannot,
consistent with its fiduciary duties, seek Bankruptcy Court approval of the Private Sale Motion
over any objections thereto (and, in each case, the Purchaser does not make a Stalking Horse
Election).

(c)       Mutual Consent. By mutual consent of Seller and Purchaser.

(d)     Effect of Termination. If this Agreement is terminated pursuant to Section(s) 21(a) or
21(b), all further obligations of the parties under this Agreement will terminate without liability,
except for the obligations of either party pursuant to Sections 2(d), 6(h), 6(j), 13, 20, 21, 25-32,
34, 37, and 39 shall survive. For the avoidance of doubt and notwithstanding anything to the
contrary contained herein, Seller shall pay the Expense Reimbursement whether the Closing
occurs or not except in the event of a Purchaser’s Default.

22.     Survival. Except as otherwise provided for herein, all the provisions of this Agreement
(including, without limitation, the representations, covenants and warranties of Seller and
Purchaser as set forth in this Agreement), shall survive the consummation of the purchase and
sale of the Real Property on the Closing Date, the delivery and recording of the Deed and the
payment of the Purchase Price for a period of twelve (12) months following the Closing Date (the
“Survival Period”). Notwithstanding the foregoing, the Survival Period for any inaccuracy or
breach of any tax and environmental representations and warranties of Seller in this Agreement
shall mean a period of the applicable statute of limitations following the Closing Date. An
Indemnified Party may make a claim for indemnification pursuant to Section 20 at any time prior
to the expiration of the applicable Survival Period. The indemnification provisions of this
Agreement shall survive the Closing for the Survival Period except in the event of fraud or
intentional misrepresentation in which case the indemnification provisions of this Agreement
shall survive indefinitely.

23.     Further Assurances. At Closing, and from time to time thereafter, Seller shall do all such
additional and further acts, and shall execute and deliver all such additional and further
instruments and documents, as or Purchaser’s counsel may reasonably require fully to vest in and
assure to Purchaser full right, title and interest in and to the Purchased Assets to the full extent




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contemplated by this Agreement and otherwise to effectuate the purchase and sale of the
Purchased Assets as contemplated by and provided for in this Agreement.

24.     Successors and Assigns. Purchaser may, without Seller’s consent, assign its rights under
this Agreement, in whole or in part, to one or more general or limited partnerships, corporations,
limited liability companies, or other entities that are Affiliates of or that are formed by any of the
officers, directors or shareholders of Purchaser. Upon any such assignment, the original Purchaser
shall not be relieved or released from any covenants, obligations and liabilities under this
Agreement, whether accruing before, on or after such assignment. Seller may not assign this
Agreement or any of its rights hereunder (voluntarily, involuntarily or by operation of law)
without the prior written consent of Purchaser. Subject to the provisions of this Section 24, the
terms, conditions and covenants of this Agreement shall be binding upon and shall inure to the
benefit of the parties hereto and their respective successors and assigns.

25.     Time of the Essence. Time is of the essence of all undertakings and agreements of the
respective parties hereto, and all undertakings and agreements will be promptly performed by the
respective parties within the time and in the manner herein provided.

26.     Entire Agreement. This Agreement constitutes the entire understanding between the
parties with respect to the transactions contemplated herein, and all prior or contemporaneous
agreements, understandings, representations and statements, oral or written, between the parties
are merged into this Agreement. Neither this Agreement nor any provisions hereof may be
waived, modified, amended, discharged or terminated except by an instrument in writing signed
by the party against whom the enforcement of such waiver, modification, amendment, discharge
or termination is sought, and then only to the extent set forth in such instrument.

27.     Non-Business Days. If any date herein set forth for the performance of any obligations
either by Seller or by Purchaser or for the delivery of any instrument or notice as herein provided
should be on a non-business day, the compliance with such obligations or delivery shall be
deemed acceptable on the next business day following such non-business day.

28.     Brokers’ Commissions. Seller represents and warrants to Purchaser that, except for
Healthcare Finance Partners, Corp., it has not dealt with any broker, investment banker or similar
service provider with respect to this Agreement or the purchase of Purchased Assets. Seller shall
indemnify, defend, reimburse and hold harmless Purchaser from and against any claims for
commissions, fees, charges or other compensation made by any party claiming to have been a
broker of Seller in connection with this Agreement or the transactions contemplated hereby.
Purchaser shall indemnify, defend, reimburse and hold harmless Seller from and against any
claims for commissions, fees, charges or other compensation made by any party claiming to have
been a broker of Purchaser in connection with this Agreement or the transactions contemplated
hereby. Notwithstanding any provision of this Agreement to the contrary, the obligations of the
parties under this Section 28 shall survive the Closing and any termination of this Agreement
indefinitely.


29.    Section Headings. The section headings used herein are descriptive only and shall have
no legal force or effect whatsoever.


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30.    Notices. Any notice, demand or request which may be permitted, required or desired to be
given in connection herewith shall be given in writing and directed to Seller and Purchaser as
follows:

          If to Seller:                  Quantum Properties, L.P.
                                         c/o Promise Healthcare Group, LLC
                                         999 Yamato Road, 3rd Floor
                                         Boca Raton, FL 33431
                                         Attention: Suzanne Sterling
                                         Facsimile: (561) 995-9845

          with copy to (which shall not constitute notice):

                                         Waller Lansden Dortch & Davis, LLP
                                         100 Congress Avenue
                                         Suite 1800
                                         Austin, Texas 78701
                                         Attention: Christy L. Pennington
                                         Facsimile: (512) 685-6417

          If to Purchaser:               National Health Investors, Inc.
                                         222 Robert Rose Drive
                                         Murfreesboro, Tennessee 37129
                                         Attention: Chief Executive Officer
                                         Facsimile: (615) 225-3030

          with copy to (which shall not constitute notice):

                                         Stites & Harbison, PLLC
                                         401 Commerce Street, Suite 800
                                         Nashville, TN 37219
                                         Attention: Ed Burrell
                                         Facsimile: (615) 782-0712

Notices shall be either (i) personally delivered to the offices set forth above, in which case they
shall be deemed delivered on the date of delivery to said offices, (ii) sent by certified mail return
receipt requested, in which case they shall be deemed delivered on the date set forth in the return
receipt, (iii) sent by facsimile to the telephone numbers indicated above, in which case they shall
be deemed received on the confirmation date indicated on such facsimile or (iv) sent by air
courier (Federal Express or like service), in which case they shall be deemed received on the date
of delivery set forth in the courier’s receipt.

31.     Governing Law; Jurisdiction and Venue. This Agreement shall be governed by and
construed in accordance with the laws of the United States of America and the State of
Tennessee, without giving effect to choice of law principles. Each party hereto agrees that the
Bankruptcy Court shall have exclusive jurisdiction over all disagreements, disputes or claims
arising out of or relating to this Agreement or the transactions contemplated hereby. If the
Bankruptcy Case has closed or if the Bankruptcy Court otherwise declines to exercise


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jurisdiction, each party hereto agrees that all disagreements, disputes or claims arising out of or
relating to this Agreement or the transactions contemplated hereby shall be brought in a state
court located in Davidson County, Tennessee or a federal court located in Nashville, Tennessee.
Each party hereto hereby consents to personal jurisdiction in any such action brought in the
Bankruptcy Court or any Davidson County, Tennessee state court or federal court, consents to
service of process by registered mail made upon such party and such party’s agent and waives
any objection to venue in the Bankruptcy Court or any Davidson County, Tennessee state court or
federal court and any claim that the Bankruptcy Court or any Davidson County, Tennessee state
court or federal court is an inconvenient forum.

32.     Litigation. In the event of litigation between the parties with respect to this Agreement,
the transaction contemplated hereby, the performance of their obligations (in whole or in part)
hereunder or the effect of a termination hereunder, the parties agree that the court may allocate
costs and expenses incurred by the parties in connection with such litigation, including reasonable
attorneys’ fees as part of any verdict or related judgment. Notwithstanding any provision of this
Agreement to the contrary, the obligations of the parties under this Section 32 will survive the
Closing or any termination of this Agreement.

33.      Supplemental Disclosure Letter. From time to time prior to the Closing, Seller may,
upon written notice to Purchaser, supplement or amend the Seller Disclosure Schedule relating to
the representations and warranties, if any (the “Supplemental Disclosures”), and such
Supplemental Disclosure Letter shall be deemed to be incorporated into and to supplement and
amend the Seller Disclosure Schedule as of the Closing Date. Notwithstanding anything to the
contrary contained in this Agreement, Seller may not update: (i) negative representations and
warranties; or (ii) matters which existed at signing of this Agreement, after Purchaser’s receipt of
a Supplemental Disclosure. Seller may not cure a Seller’s Default of this Agreement which
existed at signing of this Agreement and Purchaser shall be entitled to exercise its remedies
hereunder. In addition, if Purchaser determines, in its reasonable discretion, that the information
contained in the Supplemental Disclosure will have a Material Adverse Effect on the transaction
contemplated by this Agreement, Purchaser may elect to terminate this Agreement by providing
written notice to Seller within three (3) business days after Purchaser’s receipt of such
Supplemental Disclosure Letter, in which event this Agreement shall be terminated and of no
further force and effect (except for those expressly specified to survive termination of this
Agreement). If the Closing is to occur during the 3-business day period, the Closing Date, may, at
Purchaser’s option, be delayed to allow Purchaser the entire 3-business day period to determine if
it elects to terminate this Agreement as herein provided.

34.      Counterparts. This Agreement may be executed in any number of counterparts, each of
which shall be deemed an original but all of which together shall constitute one and the same
instrument. Counterparts may be executed in either original or electronically transmitted form
(e.g., faxed or emailed portable document format (PDF) form), and the parties hereby adopt as
original any signatures received via electronically transmitted form.

35.     Prorations and Adjustments. General and special real estate and other ad valorem taxes
and assessments levied or assessed against the Project and/or any other Purchased Assets shall be
prorated as of the Closing Date on the basis of the most recent ascertainable tax bill(s), and the
net credit to Purchaser or Seller shall be credited against the Purchase Price.


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36.     Acquisition Proposals. “Acquisition Proposal” shall mean any offer or proposal to
acquire the operations or a significant portion of the assets of the Facility or the Project or an
equity interest in Seller or otherwise to provide financing with respect to a similar transaction
involving the Facility or the Project. Seller, and any officer, director, employee, advisor or others
authorized to act on its behalf, (i) will not, directly or indirectly, initiate, solicit, authorize or
encourage discussions relating to any Acquisition Proposal; (ii) will not participate in
negotiations in connection with or in furtherance of any Acquisition Proposal or permit any
person other than the Purchaser and their respective representatives to have any access to the
Facility or Project, or furnish to any person other than Purchaser and its respective representatives
any non-public information with respect to Purchased Assets; (iii) will immediately cease and
cause to be terminated any existing activities, discussions or negotiations with any parties, other
than the Purchaser, conducted on or before the date of this Agreement with respect to any
Acquisition Proposal; and (iv) will immediately provide to Purchaser written notice of any
Acquisition Proposal, including the name of the party seeking to initiate, continue or renew
activities, discussions or negotiations regarding an Acquisition Proposal.

37.      Confidentiality. All information regarding Purchaser, Seller and the Project which have
been provided by Seller and Purchaser to each other in connection with the negotiation,
execution, and performance of this Agreement are confidential, and will be treated as such by
each party and their respective mangers, members, agents, and employees, who will not make use
of such confidential information or reveal any such information to any other Persons other than
parties who need to know the information for the purpose of performing due diligence or
evaluating the transaction contemplated by this Agreement on behalf of the parties hereto or
unless ordered by a court of competent jurisdiction or otherwise compelled to do so. This
confidentiality provision shall not apply to information which is generally available to the public
or becomes generally available to the public from sources other than as a result of disclosure by
either party hereto in violation of the terms hereof. If this Agreement is terminated, upon written
notice from the disclosing party the other party shall immediately return such confidential
information or destroy such information as requested. Notwithstanding the foregoing, (i) Seller
and Purchaser (or any of their respective Affiliates) shall be able to disclose any such information
as is, in the good faith judgment of such Person’s counsel, accountants or advisors, required or
reasonably advisable to be disclosed by operation of law, rule, regulation or legal process, a
governmental agency such as the Internal Revenue Service or Securities and Exchange
Commission, or a stock exchange such as the New York Stock Exchange, court order or
requirement of any governmental authority, and (ii) Seller and Purchaser shall be entitled to
disclose any such information as is, in the good faith judgment of such Person’s counsel,
accountants or advisors, required or reasonably advisable to be disclosed in connection with such
party’s (or any of its Affiliates’) quarterly earnings results or financing activities, including the
name of the non-disclosing party and any other required terms under this Agreement. The
foregoing shall survive the Closing or any termination of this Agreement. Notwithstanding the
foregoing, disclosure of matters that become a matter of public record as a result of the
Bankruptcy Case and the filings related thereto shall not constitute a breach of this Agreement.

38.       Intentionally Deleted.

39.    Enforceability. The parties agree that each and every provision of this Agreement is
severable, and if any term or provision of this Agreement shall be held invalid or


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unenforceable to any extent, the remaining terms and provisions of this Agreement (including,
without limitation, the remaining terms and provisions of the affected Section) shall not be
affected thereby, and each term and provision shall be valid and enforceable to the fullest extent
permitted by law.

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                                                              -33-and National Health Investors
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          The parties hereto have executed this Agreement as of the date first above written.

                                                            SELLER:

                                                            QUANTUM PROPERTIES, L.P.,
                                                            a California limited partnership


                                                           By: _______________________________________
                                                           Name: Andrew Hinkelman
                                                           Its:        Chief Restructuring
                                                                                   Officer

                                                            PURCHASER:

                                                            NATIONAL HEALTH INVESTORS, INC.,
                                                            a Maryland corporation


                                                            By: _______________________________________
                                                            Name: ____________________________________




                                                              -33-and National Health Investors
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                  The parties hereto have executed this Agreement as of the date first above written.

                                                               SELLER:

                                                               QUANTUM PROPERTIES, L.P., a
                                                               California limited partnership


                                                               By: _______________________________________
                                                               Name: _____________________________________
                                                               Its:

                                                               PURCHASER:

                                                               NATIONAL HEALTH INVESTORS, INC., a
                                                               Maryland corporation


                                                              By:
                                                              Name: Kristin S. Gaines
                                                              Its:  Chief Credit Officer




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Modified Document
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Comparison Statistics                                          Word Rendering Set Markup Options
Insertions                   19                       Name
Deletions                    42                       Insertions
Changes                      7                        Deletions
Moves                        0                        Moves / Moves
Font Changes                 0                        Font Changes
Paragraph Style Changes      0                        Paragraph Style Changes
Character Style Changes      0                        Character Style Changes
TOTAL CHANGES                68                       Inserted cells
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Include Field Codes                                           Word                      True
Include Moves                                                 Word                      False
Show Track Changes Toolbar                                    Word                      True
Show Reviewing Pane                                           Word                      True
Update Automatic Links at Open                                Word                      False
Summary Report                                                Word                      End
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Document View                                                 Word                      Print
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